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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )
                                   )
       vs.                         )            CR No. 21-28
                                   )
THOMAS E. CALDWELL, ET AL.,        )
                                   )
          Defendants.              )
___________________________________)

UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )            CR No. 22-14
                                   )            Washington, D.C.
       vs.                         )            January 25, 2022
                                   )            11:00 a.m.
JONATHAN WALDEN,                   )
                                   )
          Defendant.               )
___________________________________)

UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )
                                   )
       vs.                         )            CR No. 22-15
                                   )
ELMER STEWART RHODES III, ET AL., )
                                   )
          Defendants.              )
___________________________________)


  TRANSCRIPT OF JOINT STATUS CONFERENCE VIA ZOOM PROCEEDINGS
              BEFORE THE HONORABLE AMIT P. MEHTA
                 UNITED STATES DISTRICT JUDGE
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Proceedings recorded by mechanical stenography; transcript
produced by computer-aided transcription
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                                                                             8

1                             P R O C E E D I N G S

2                COURTROOM DEPUTY:     Good morning, Your Honor.

3    This is a Joint Status Conference and arraignment for

4    Criminal Case No. 21-28, United States of America versus

5    Defendant No. 1, Thomas Edward Caldwell; Defendant No. 2,

6    Donovan Ray Crowl; Defendant No. 3, Jessica Marie Watkins;

7    Defendant No. 4, Sandra Ruth Parker; Defendant 5, Bennie

8    Alvin Parker; Defendant 7, Laura Steele; Defendant 8,

9    Kelly Meggs; Defendant 9, Connie Meggs; Defendant 10,

10   Kenneth Harrelson; Defendant 11, Roberto A. Minuta;

11   Defendant 12, Joshua A. James; Defendant 13,

12   Jonathan Walden; Defendant 14, Joseph Hackett; Defendant 15,

13   William Isaacs; Defendant 17, David Moerschel; Defendant 18,

14   Brian Ulrich; Defendant 19, James Beeks.

15               Kathryn Rakoczy and Jeff Nestler for the

16   government.

17               David Fischer for Defendant Caldwell; Carmen

18   Hernandez for Defendant Crowl; Shelli Peterson and

19   Jonathan Crisp for Defendant Watkins; John Machado for

20   Defendant Sandra Parker; Stephen Brennwald for Defendant

21   Bennie Parker; Peter Cooper for Defendant Steele;

22   Jon Moseley for Defendant Kelly Meggs; Juli Haller and

23   Stanley Woodward for Defendant Connie Meggs; Bradford Geyer

24   for Defendant Harrelson; Alfred Guillaume for Defendant

25   Roberto Minuta; Joni Robin for Defendant James; Thomas Spina
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                                                                             9

1    and Ed MacMahon for Defendant Walden; Angela Halim for

2    Defendant Hackett; Eugene Rossi and Natalie Napierala for

3    Defendant Isaacs; Scott Weinberg for Defendant Moerschel;

4    A.J. Balbo for Defendant Ulrich; and Jessica Ettinger for

5    Defendant Beeks.

6                This is also an arraignment hearing for Criminal

7    Case No. 22-14, United States of America versus

8    Jonathan Walden.

9                Jeffrey Nestler and Kathryn Rakoczy for the

10   government.

11               Thomas Spina and Edward MacMahon for Defendant

12   Walden.

13               This is also an arraignment hearing for Criminal

14   Case No. 22-15, United States of America versus Defendant

15   No. 1, Elmer Stewart Rhodes III; Defendant 2, Kelly Meggs;

16   Defendant 3, Kenneth Harrelson; Defendant 4,

17   Jessica Watkins; Defendant 5, Joshua James; Defendant 6,

18   Roberto A. Minuta; Defendant 7, Joseph Hackett; Defendant 8,

19   David Moerschel; Defendant 9, Brian Ulrich; Defendant 10,

20   Thomas Edward Caldwell; and Defendant 11, Edward Vallejo,

21   who is not present for this hearing.

22               Jeffrey Nestler and Kate Rakoczy for the

23   government.

24               Phillip Linder for Defendant Rhodes; Jonathon

25   Moseley for Defendant Kelly Meggs; Bradford Geyer for
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                                                                                10

1     Defendant Harrelson; Shelli Peterson and Jonathan Crisp for

2     Defendant Watkins; Joni Robin for Defendant James; Alfred

3     Guillaume for Defendant Minuta; Angie Halim for Defendant

4     Hackett; Scott Weinberg for Defendant Moerschel; A.J. Balbo

5     for Defendant Ulrich; David Fischer for Defendant Caldwell;

6     and Matthew Peed for Defendant Vallejo.

7                 All defendants except for Edward Vallejo are

8     appearing remotely for this hearing.

9                 THE COURT:    Okay.    Good morning, everyone.

10                Hang on one second.

11                Mr. Douyon, I just sent you a text.            Can you take

12    a quick look at it and just respond before we get moving

13    here?

14                All right.    Great.

15                Okay.   Welcome, everybody.        Before we get started,

16    let me just make sure that Mr. Meggs, Mr. Harrelson, and

17    Ms. Watkins, can you all hear me okay?            I believe you're on

18    by telephone; is that correct?

19                DEFENDANT KELLY MEGGS:        Yes, Your Honor.

20                DEFENDANT WATKINS:        Yes, Your Honor.

21                DEFENDANT HARRELSON:        Yes, sir.

22                THE COURT:    Okay.    Very good.

23                And, Mr. Rhodes, can you hear me, sir?

24                DEFENDANT RHODES:      Yes, Your Honor, I can hear

25    you.
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                                                                               11

1                 THE COURT:    Okay.   Terrific.

2                 All right, everyone.      A lot of ground and lots to

3     discuss today in light of developments in this case.               But

4     let's just start with a couple of quick matters that I'd

5     like to dispose of.

6                 The first concerns Ms. Watkins and her counsel.

7     Mr. Crisp has entered an appearance.

8                 Ms. Peterson, are you still on the line?

9                 MS. PETERSON:    Yes, Your Honor, I'm here.

10                THE COURT:    Mr. Crisp and Ms. Peterson, does the

11    fact that Mr. Crisp has entered an appearance, does that

12    mean that Ms. Peterson is being relieved of her

13    responsibilities and Mr. Crisp is taking over as counsel?

14                MR. CRISP:    It does, Your Honor.

15                MS. PETERSON:    Your Honor, that is my

16    understanding.

17                THE COURT:    Is that right, Mr. Crisp?

18                MR. CRISP:    That is correct, Your Honor, yes.

19                THE COURT:    All right.

20                Well, let me make sure, if I can address

21    Ms. Watkins.

22                Ms. Watkins, I understand that Mr. Crisp has

23    entered his appearance on your behalf, and as I've just been

24    told, Ms. Peterson would then withdraw as your counsel.

25    Is that what you're wishing to have happen, Ms. Watkins;
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                                                                                12

1     that is, Mr. Crisp replace Ms. Peterson as your lawyer?

2                 DEFENDANT WATKINS:        Yes, Your Honor, he is.

3                 THE COURT:    Okay.

4                 And you are doing that knowing the fact that

5     Mr. Crisp is now just entering his appearance could affect

6     the timing of your trial.      Do you understand that?

7                 DEFENDANT WATKINS:        Yes, Your Honor, I do.

8                 THE COURT:    All right.

9                 And that specifically means it could delay your

10    trial and could extend your pretrial detention.

11                Do you understand that?

12                DEFENDANT WATKINS:        Yes, Your Honor.

13                Me and Mr. Crisp have had that discussion on that,

14    yes, sir.

15                THE COURT:    All right.

16                And knowing all that, ma'am, you still wish to

17    have Mr. Crisp replace Ms. Peterson; is that right?

18                DEFENDANT WATKINS:        Yes, Your Honor, I do.

19                THE COURT:    Okay.   All right.

20                So with that, I will grant leave of Ms. Peterson

21    to withdraw as counsel for Ms. Watkins, and so she can be

22    excused from the hearing.

23                MS. PETERSON:    Thank you, Your Honor.

24                THE COURT:    Okay.

25                Next thing is, we have a new set of indictments in
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                                                                               13

1     this case.    The case has been split into three.          The

2     original case, which was 22-CR -- excuse me, 21-CR-28 has

3     been reduced to seven defendants.        Some of those defendants

4     who are in that original case have been spun out into

5     22-CR-15, and there are now 11 defendants in that case,

6     including two new defendants, and Mr. Walden has been

7     separately spun out into 22-CR-14.

8                 Before we turn to the arraignments, Ms. Rakoczy,

9     let me ask you whether you wish to formally dismiss the

10    indictments against the defendants who've been moved over

11    into 22-CR-15 and 21-CR-28?

12                MS. RAKOCZY:    Yes, Your Honor.

13                At this time, the United States moves to dismiss

14    the counts in 21-CR-28 against those nine defendants.              And

15    I can list them for the record if you would like or, as the

16    Court is aware, that's our request.

17                THE COURT:    Well, why don't you go ahead and just

18    list them for the record, Ms. Rakoczy.

19                MS. RAKOCZY:    For the record, Your Honor, that

20    would be Defendants Kelly Meggs, Kenneth Harrelson,

21    Jessica Watkins, Joshua James, Roberto Minuta,

22    Joseph Hackett, David Moerschel, Brian Ulrich, and

23    Thomas Caldwell.

24                THE COURT:    Is there any objection from any of

25    those counsel with respect to those defendants with respect
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                                                                              14

1     to the motion to dismiss?

2                 All right.    Hearing none, then the motion will be

3     granted.

4                 So 28-CR-28 [sic], that indictment is dismissed

5     against the nine defendants that Ms. Rakoczy has just

6     listed.    And so 21-CR -- 21-CR-28 will then remain active --

7     as the active case against the remaining defendants in that

8     matter.

9                 Okay.   Next thing I'd like to do is have everyone

10    re-arraigned, so this is going to take a little bit of time.

11    Mr. Rhodes is going to be arraigned for the first time, but

12    everyone else will need to be re-arraigned, including those

13    who remain in 21-CR-28, because I understand that there is a

14    new count that's been added to that case.

15                Maybe it makes some sense, before we do that, to

16    the extent I think it's helpful both for everyone present

17    and any members of the public who are listening,

18    Ms. Rakoczy, it might just be helpful for you to summarize

19    how these cases have now been charged and what the main

20    charges are in each of the three cases.

21                MS. RAKOCZY:    Yes, Your Honor.

22                As just discussed, nine of the defendants who were

23    previously indicted in the matter of -- that was previously

24    captioned United States versus Thomas Caldwell, et al.,

25    21-CR-28, those nine defendants whom I just listed, have now
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                                                                              15

1     been indicted in a new matter, United States versus

2     Elmer Stewart Rhodes, III, et al., and that carries the

3     Criminal No. 22-CR-15.

4                 The defendants charged in that matter are

5     Mr. Rhodes, Mr. Meggs, Mr. Harrelson, Ms. Watkins,

6     Mr. James, Mr. Minuta, Mr. Hackett, Mr. Moerschel,

7     Mr. Ulrich, Mr. Caldwell, and a newly indicted defendant,

8     Edward Vallejo, who is not present here today but will be

9     arraigned, hopefully, in the near future.

10                Those defendants are all charged with several

11    conspiracy counts.      They're charged with seditious

12    conspiracy, in violation of 18 United States Code

13    Section 2384; they are charged with conspiracy to obstruct

14    an official proceeding, in violation of 18 United States

15    Code Section 1512(k); they are charged with Count 4,

16    conspiracy to prevent an officer from discharging any

17    duties, in violation of 18 United States Code Section 372.

18    They are also charged with violating the statute of

19    obstruction of an official proceeding, in violation of

20    18 United States Code Section 1512(c)(2).

21                A number of the defendants are charged with

22    additional charges.      Ms. Watkins and Mr. James both face

23    charges of civil disorder and aiding and abetting, in

24    violation of 18 United States Code Sections 231(a)(3) and

25    Section 2.
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                                                                              16

1                 Mr. James stands charged with one count of

2     assaulting, resisting, or impeding certain officers, in

3     violation of 18 United States Code Section 111(a)(1).

4                 And several of the defendants -- most of the

5     defendants are then charged individually with one count each

6     of tampering with documents or proceedings, in violation of

7     18 United States Code Section 1512(c)(1), and, for some of

8     them, also an aiding and abetting theory of liability under

9     Section 2.

10                The seven defendants -- seven of the remaining

11    defendants in Case No. 21-CR-28 remain charged in that case.

12    Those would be Defendants Donovan Crowl, Sandra Parker,

13    Bennie Parker, Laura Steele, Connie Meggs, William Isaacs,

14    and James Beeks.

15                The conspiracy charge in the indictment was

16    previously alleged to have been a conspiracy in violation of

17    18 United States Code Section 371, that is now charged as a

18    conspiracy to obstruct an official proceeding under

19    18 United States Code Section 1512(k).

20                As the Court alluded to, there was also an

21    additional conspiracy charge added, conspiracy to prevent an

22    officer from discharging any duties, in violation of

23    18 United States Code Section 372.

24                There are also then some of the same substantive

25    counts that previously existed in the sixth superseding
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1     indictment in that matter, such as obstruction of an

2     official proceeding, in violation of 18 United States Code

3     Section 1512(c)(2), entering and remaining in a restricted

4     grounds, in violation of 18 United States Code Section

5     1752(a)(1).

6                 For Count 4, destruction of government property,

7     in violation of 18 United States Code Section 1361.

8                 Civil disorder and aiding and abetting --

9                 THE COURT:    Ms. Rakoczy, let me just -- if I could

10    interrupt you.     It's okay.

11                We're going to have everyone arraigned, and so

12    those counts will be noted.

13                And I just thought it would be useful to summarize

14    exactly how the case has now been split up.

15                And then, of course, there's a third indictment in

16    this case against Mr. Walden as an individual defendant.

17                MS. RAKOCZY:    Yes, Your Honor.

18                THE COURT:    So let's do the following.

19                And before we proceed, one issue.

20                Is Mr. Moseley on the line?         Has he joined us yet?

21                COURTROOM DEPUTY:     I don't believe Mr. Moseley is

22    on the line yet, Your Honor, but he has a paralegal from his

23    office on the line standing in.

24                THE COURT:    All right.

25                We were only advised just this morning that
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                                                                               18

1     Mr. Moseley is in trial, so I think he'll be joining us

2     soon.   We'll hold off on anything substantive with respect

3     to Mr. Meggs.

4                 But, Mr. Meggs, are you aware that your counsel is

5     not present for this call and are you okay with us

6     proceeding with this hearing until he arrives?

7                 DEFENDANT KELLY MEGGS:       Yes, Your Honor.

8                 THE COURT:    All right.     Thank you, Mr. Meggs.

9                 Okay.   Let's start with 22-CR-15 and each of the

10    defendants in that case, including Mr. Rhodes.

11                I will ask each of you to pay attention to the

12    Courtroom Deputy, who will be announcing the charges that

13    have been filed against you.

14                I will then ask each of your counsel, respective

15    counsel, to indicate whether you -- whether they are waiving

16    a formal reading and to enter a plea as to the charges

17    against each of those defendants.

18                So this is counsel for Mr. Rhodes.           Mr. Meggs,

19    we'll hold off on.      Mr. Harrelson, Ms. Watkins,

20    Joshua James, Mr. Minuta, Mr. Hackett, Mr. Moerschel,

21    Mr. Ulrich, Mr. Caldwell.      And Mr. Vallejo is not here.

22                So for those nine defendants, other than

23    Mr. Meggs -- ten defendants, other than Mr. Meggs, excuse

24    me.

25                COURTROOM DEPUTY:     May the record reflect that
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                                                                              19

1     each of the defendants in 22-15 have received a copy of the

2     indictment through counsel.

3                 Mr. Elmer Stewart Rhodes, in Criminal Case

4     No. 22-15-1, you've been charged with the following counts:

5                 Count 1, seditious conspiracy, in violation of

6     Title 18 United States Code Section 2384;

7                 Count 2, conspiracy to obstruct an official

8     proceeding, in violation of Title 18 United States Code

9     Section 1512(k);

10                Count 3, obstruction of an official proceeding and

11    aiding and abetting, in violation of Title 18 United States

12    Code Sections 1512(c)(2) and Section 2;

13                Count 4, conspiracy to prevent an officer from

14    discharging any duties, in violation of Title 18

15    United States Code Section 372;

16                And Count 9, tampering with documents or

17    proceedings and aiding and abetting, in violation of

18    Title 18 United States Code Sections 1512(c)(1) and

19    Section 2.

20                Do you wish to waive a formal reading of the

21    indictment and how do you wish to plead?

22                MR. LINDER:    Phillip Linder on behalf of

23    Mr. Rhodes.

24                We will waive formal reading of the indictment,

25    and we will enter pleas of not guilty on all five charges
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                                                                               20

1     that he's been indicted for.

2                 THE COURT:    All right.     Thank you, Mr. Linder.

3     The record will reflect the entry of not-guilty pleas as to

4     each count against Mr. Rhodes.

5                 MR. LINDER:    Thank you, sir.

6                 THE COURT:    We'll then move to Mr. Harrelson.

7                 COURTROOM DEPUTY:     Mr. Kenneth Harrelson, in

8     Criminal Case No. 22-15-3, you've been charged with the

9     following counts:

10                Count 1, seditious conspiracy, in violation of

11    Title 18 United States Code Section 2384;

12                Count 2, conspiracy to obstruct an official

13    proceeding, in violation of Title 18 United States Code

14    Section 1512(k);

15                Count 3, obstruction of an official proceeding and

16    aiding and abetting, in violation of Title 18 United States

17    Code Sections 1512(c)(2) and Section 2;

18                Count 4, conspiracy to prevent an officer from

19    discharging any duties, in violation of Title 18

20    United States Code Section 372;

21                And Count 11, tampering with documents or

22    proceedings and aiding and abetting, in violation of

23    Title 18 United States Code Sections 1512(c)(1) and

24    Section 2.

25                Do you wish to waive a formal reading of the
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                                                                              21

1     indictment and how do you wish to plead?

2                 MR. GEYER:    This is Brad Geyer for

3     Defendant Harrelson.

4                 We waive a formal reading and we wish to enter a

5     plea of not guilty.

6                 THE COURT:    So with respect to Mr. Geyer [sic],

7     the record will reflect an entry of not-guilty plea as to

8     him.

9                 We'll turn next to Mr. Watkins and Mr. Crisp.

10                COURTROOM DEPUTY:     Ms. Jessica Watkins, in

11    Criminal Case No. 22-15-4, you've been charged with the

12    following counts:

13                Count 1, seditious conspiracy, in violation of

14    Title 18 United States Code Section 2384;

15                Count 2, conspiracy to obstruct an official

16    proceeding, in violation of Title 18 United States Code

17    Section 1512(k);

18                Count 3, obstruction of an official proceeding and

19    aiding and abetting, in violation of Title 18 United States

20    Code Sections 1512(c)(2) and Section 2;

21                Count 4, conspiracy to prevent an officer from

22    discharging any duties, in violation of Title 18

23    United States Code Section 372;

24                Count 5, destruction of government property and

25    aiding and abetting, in violation of Title 18 United States
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                                                                               22

1     Code Sections 1361 and Section 2;

2                 And Count 6, civil disorder and aiding and

3     abetting, in violation of Title 18 United States Code

4     Sections 231(a)(3) and Section 2.

5                 Do you wish to waive a formal reading of the

6     indictment and how do you wish to plead?

7                 MR. CRISP:    Your Honor, we will waive the formal

8     reading and plea not guilty to all counts.             Thank you.

9                 THE COURT:    The record will reflect not-guilty

10    pleas as to each count against Ms. Watkins.

11                COURTROOM DEPUTY:     Mr. Joshua James, in Criminal

12    Case No. 22-15-5, you've been charged with the following

13    counts:

14                Count 1, seditious conspiracy, in violation of

15    Title 18 United States Code Section 2384;

16                Count 2, conspiracy to obstruct an official

17    proceeding, in violation of Title 18 United States Code

18    Section 1512(k);

19                Count 3, obstruction of an official proceeding and

20    aiding and abetting, in violation of Title 18 United States

21    Code Sections 1512(c)(2) and Section 2;

22                Count 4, conspiracy to prevent an officer from

23    discharging any duties, in violation of Title 18

24    United States Code Section 372;

25                Count 7, civil disorder and aiding and abetting,
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                                                                              23

1     in violation of Title 18 United States Code Sections

2     231(a)(3) and Section 2;

3                 Count 8, assaulting, resisting, or impeding

4     certain officers, in violation of Title 18 United States

5     Code Section 111(a)(1);

6                 Count 12, tampering with documents or proceedings

7     and aiding and abetting, in violation of Title 18

8     United States Code Sections 1512(c)(1) and Section (2).

9                 Do you wish to waive a formal reading of the

10    indictment and how do you wish to plead?

11                MS. ROBIN:    Good morning, Your Honor.        Joan Robin

12    on behalf Mr. James.

13                Mr. James waives formal reading and enters a plea

14    of not guilty to each of the counts against him.

15                THE COURT:    The record will reflect entry of

16    not-guilty pleas as to Mr. James.

17                Mr. Minuta and Mr. Guillaume.

18                COURTROOM DEPUTY:     Mr. Roberto Minuta, in

19    Criminal Case No. 22-15-6, you've been charged with the

20    following counts:

21                Count 1, seditious conspiracy, in violation of

22    Title 18 United States Code Section 2384;

23                Count 2, conspiracy to obstruct an official

24    proceeding, in violation of Title 18 United States Code

25    Section 1512(k);
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 24 of 127

                                                                              24

1                 Count 3, obstruction of an official proceeding and

2     aiding and abetting, in violation of Title 18 United States

3     Code Sections 1512(c)(2) and Section 2;

4                 Count 4, conspiracy to prevent an officer from

5     discharging any duties, in violation of Title 18

6     United States Code Section 372;

7                 And Count 13, tampering with documents or

8     proceedings and aiding and abetting, in violation of

9     Title 18 United States Code Sections 1512(c)(1) and

10    Section 2.

11                Do you wish to waive a formal reading of the

12    indictment and how do you wish to plead?

13                MR. GUILLAUME:    Alfred Guillaume on behalf of

14    Mr. Roberto Minuta.

15                We waive formal reading of the indictment and

16    pleas of not guilty to all charges.

17                THE COURT:    Thank you, Mr. Guillaume.

18                So the record will reflect entry of not-guilty

19    pleas as to Mr. Minuta.

20                Mr. Hackett and Ms. Halim.

21                COURTROOM DEPUTY:     Mr. Joseph Hackett, in

22    Criminal Case No. 22-15-7, you have been charged with

23    following counts:

24                Count 1, seditious conspiracy, in violation of

25    Title 18 United States Code Section 2384;
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 25 of 127

                                                                              25

1                 Count 2, conspiracy to obstruct an official

2     proceeding, in violation of Title 18 United States Code

3     Section 1512(k);

4                 Count 3, obstruction of an official proceeding and

5     aiding and abetting, in violation of Title 18 United States

6     Code Sections 1512(c)(2) and Section 2;

7                 Count 4, conspiracy to prevent an officer from

8     discharging any duties, in violation of Title 18

9     United States Code Section 372;

10                Count 5, destruction of government property and

11    aiding and abetting, in violation of Title 18 United States

12    Code Sections 1361 and Section 2;

13                And Count 14, tampering with documents or

14    proceedings and aiding and abetting, in violation of

15    Title 18 United States Code Sections 1512(c)(1) and

16    Section 2.

17                Do you wish to waive a formal reading of the

18    indictment and how do you wish to plead?

19                MS. HALIM:    Good morning.     Angie Halim on behalf

20    of Mr. Hackett.

21                He waives a formal reading and enters a plea of

22    not guilty to all charges.

23                THE COURT:    Thank you, Ms. Halim.

24                So the record will reflect not-guilty pleas as to

25    each count against Mr. Hackett.
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 26 of 127

                                                                              26

1                 COURTROOM DEPUTY:     David Moerschel, in

2     Criminal Case No. 22-15-8, you've been charged with the

3     following counts:

4                 Count 1, seditious conspiracy, in violation of

5     Title 18 United States Code Section 2384;

6                 Count 2, conspiracy to obstruct an official

7     proceeding, in violation of Title 18 United States Code

8     Section 1512(k);

9                 Count 3, obstruction of an official proceeding and

10    aiding and abetting, in violation of Title 18 United States

11    Code Sections 1512(c)(2) and Section 2;

12                Count 4, conspiracy to prevent an officer from

13    discharging any duties, in violation of Title 18

14    United States Code Section 372;

15                Count 5, destruction of government property and

16    aiding and abetting, in violation of Title 18 United States

17    Code Sections 1361 and Section 2;

18                And Count 15, tampering with documents or

19    proceedings and aiding and abetting, in violation of

20    Title 18 United States Code Sections 1512(c)(1) and

21    Section 2.

22                Do you wish to waive formal reading of the

23    indictment, and how do you wish to plead?

24                MR. WEINBERG:    We would waive formal reading of

25    the indictment and we plead not guilty to all counts.
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 27 of 127

                                                                              27

1                 THE COURT:    Thank you, Mr. Weinberg.

2                 The record will reflect not-guilty pleas as to

3     Mr. Moerschel as to each count.

4                 Mr. Ulrich and Mr. Balbo.

5                 COURTROOM DEPUTY:     Brian Ulrich, in Criminal Case

6     No. 22-15-9, you've been charged with following counts:

7                 Count 1, seditious conspiracy, in violation of

8     Title 18 United States Code Section 2384;

9                 Count 2, conspiracy to obstruct an official

10    proceeding, in violation of Title 18 United States Code

11    Section 1512(k);

12                Count 3, obstruction of an official proceeding and

13    aiding and abetting, in violation of Title 18 United States

14    Code Sections 1512(c)(2) and Section 2;

15                Count 4, conspiracy to prevent an officer from

16    discharging any duties, in violation of Title 18

17    United States Code Section 372;

18                And Count 16, tampering with documents or

19    proceedings and aiding and abetting, in violation of

20    Title 18 United States Code Sections 1512(c)(1) and

21    Section 2.

22                Do you wish to waive formal reading of the

23    indictment, and how do you wish to plead?

24                MR. BALBO:    Good morning, Your Honor.

25    A.J. Balbo with Mr. Ulrich.
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 28 of 127

                                                                              28

1                 He waives formal reading of the charges and enters

2     a not-guilty plea to the same.

3                 THE COURT:    Thank you, Mr. Balbo.

4                 The record will reflect not-guilty pleas as to

5     Mr. Ulrich.

6                 Mr. Caldwell and Mr. Fischer.

7                 COURTROOM DEPUTY:     And, Mr. Thomas Caldwell, in

8     Criminal Case No. 22-15-10, you have been charged with the

9     following counts:

10                Count 1, seditious conspiracy, in violation of

11    Title 18 United States Code Section 2384;

12                Count 2, conspiracy to obstruct an official

13    proceeding, in violation of Title 18 United States Code

14    Section 1512(k);

15                Count 3, obstruction of an official proceeding and

16    aiding and abetting, in violation of Title 18 United States

17    Code Sections 1512(c)(2) and Section 2;

18                Count 4, conspiracy to prevent an officer from

19    discharging any duties, in violation of Title 18

20    United States Code Section 372;

21                And count 17, tampering with documents or

22    proceedings and aiding and abetting, in violation of

23    Title 18 United States Code Sections 1512(c)(1) and

24    Section 2.

25                How do you wish to plead, and do you wish to waive
     Case 1:22-cr-00015-APM   Document 48    Filed 02/16/22   Page 29 of 127

                                                                               29

1     formal reading of the indictment?

2                 MR. FISCHER:    Good morning, Your Honor.

3                 On behalf of Mr. Caldwell, we waive a formal

4     reading of the indictment, and he enters a plea of not

5     guilty as to all counts.

6                 THE COURT:    All right.     Thank you, Mr. Fischer.

7                 The record will reflect not-guilty pleas as to

8     Mr. Caldwell for each count against him.

9                 All right.    Mr. Vallejo is not present with us

10    today, and we'll get him arraigned, I think, tomorrow or the

11    day after.

12                Let's turn then to the defendants in 21- -- that

13    remain in 21-CR-28.

14                JC, do you know what the new counts are against

15    them?

16                COURTROOM DEPUTY:     I do not specifically know what

17    has changed, but I could just arraign them on these counts.

18                THE COURT:    That's fine.

19                Let's go ahead and re-arraign them on everything

20    then so we don't miss anything.

21                So we'll start with Mr. Crowl and Ms. Hernandez.

22                MS. HERNANDEZ:    Good morning, Your Honor.

23                COURTROOM DEPUTY:     Good morning, Ms. Hernandez.

24                Mr. Donovan Crowl, in Criminal Case No. 21-28-2,

25    you've been charged with following counts.
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                                                                              30

1                 First, I would like to mention that all defendants

2     in Criminal Case No. 21-28, through counsel, have received a

3     copy of the seventh superseding indictment.

4                 Mr. Donovan Crowl, in Criminal Case No. 21-28-2,

5     you have been charged with the following counts:

6                 Count 1, conspiracy to obstruct an official

7     proceeding, in violation of Title 18 United States Code

8     Section 1512(k);

9                 Count 2, obstruction of an official proceeding and

10    aiding and abetting, in violation of Title 18 United States

11    Code Sections 1512(c)(2) and Section 2;

12                Count 3, conspiracy to prevent an officer from

13    discharging any duties, in violation of Title 18

14    United States Code Section 372;

15                Count 4, destruction of government property and

16    aiding and abetting, in violation of Title 18 United States

17    Code Sections 1361 and Section 2;

18                Count 5, entering and remaining in a restricted

19    building or grounds, in violation of Title 18 United States

20    Code Section 1752(a)(1);

21                And Count 7, civil disorder and aiding and

22    abetting, in violation of Title 18 United States Code

23    Sections 231(a)(3) and Section 2.

24                Do you wish to waive formal reading of the seventh

25    superseding indictment, and how do you wish to plead?
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 31 of 127

                                                                              31

1                 MS. HERNANDEZ:    Good morning, Your Honor.

2     Carmen Hernandez on behalf of Mr. Crowl.

3                 He waives formal reading of the indictment, pleads

4     not guilty to all counts, asserts his Speedy Trial rights

5     under the Constitution and the Speedy Trial Act, as well as

6     the Fifth and Sixth Amendment rights to not be questioned by

7     the government without his counsel present.

8                 THE COURT:    Thank you, Ms. Hernandez.

9                 Not-guilty pleas will be entered on the record for

10    Mr. Crowl.

11                Ms. Parker and Mr. Machado.

12                COURTROOM DEPUTY:     Ms. Sandra Parker, in

13    Criminal Case No. 21-28-4, you've been charged with the

14    following counts:

15                Count 1, conspiracy to obstruct an official

16    proceeding, in violation of Title 18 United States Code

17    Section 1512(k);

18                Count 2, obstruction of an official proceeding and

19    aiding and abetting, in violation of Title 18 United States

20    Code Section 1512(c)(2) and Section 2;

21                Count 3, conspiracy to prevent an officer from

22    discharging any duties, in violation of Title 18

23    United States Code Section 372;

24                Count 4, destruction of government property and

25    aiding and abetting, in violation of Title 18 United States
     Case 1:22-cr-00015-APM   Document 48    Filed 02/16/22   Page 32 of 127

                                                                               32

1     Code Sections 1361 and Section 2;

2                 Count 5, entering and remaining in a restricted

3     building or grounds, in violation of Title 18 United States

4     Code Section 1752(a)(1);

5                 And Count 7, civil disorder and aiding and

6     abetting, in violation of Title 18 United States Code

7     Section 231(a)(3) and Section 2.

8                 Do you wish to waive formal reading of the seventh

9     superseding indictment, and how do you wish to plead?

10                MR. MACHADO:    John Machado on behalf of

11    Sandra Parker.

12                We waive formal reading.

13                We will enter or re-enter counts -- pleas of not

14    guilty on all charges, and we would assert Ms. Parker's

15    Fifth and Sixth Amendment rights, including the right to

16    speedy trial.

17                THE COURT:    All right.

18                So not-guilty pleas will be entered as to

19    Ms. Parker.

20                Mr. Parker and Mr. Brennwald.

21                COURTROOM DEPUTY:     Mr. Bennie Parker, in

22    Criminal Case No. 21-28-5, you've been charged with the

23    following counts:

24                Count 1, conspiracy to obstruct an official

25    proceeding, in violation of Title 18 United States Code
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 33 of 127

                                                                              33

1     Section 1512(k);

2                 Count 2, destruction of an official proceeding and

3     aiding and abetting, in violation of Title 18 United States

4     Code Sections 1512(c)(2) and Section 2;

5                 Count 3, conspiracy to prevent an officer from

6     discharging any duties, in violation of Title 18

7     United States Code Section 372;

8                 And Count 5, entering and remaining in a

9     restricted building or grounds, in violation of Title 18

10    United States Code, 1752(a)(1).

11                Do you wish to waive formal reading of the seventh

12    superseding indictment, and how do you wish to plead?

13                MR. BRENNWALD:    Good morning, Your Honor.

14    Stephen Brennwald on behalf of Mr. Parker.

15                On behalf of Mr. Parker, we will waive a formal

16    reading of the entire indictment, plead not guilty to the

17    counts with which he has been charged, assert his rights to

18    a speedy trial, assert his rights under the Constitution,

19    including the right not to be questioned without counsel

20    present.

21                THE COURT:    Thank you, Mr. Brennwald.

22                So not-guilty pleas as to each count against

23    Mr. Parker will be reflected on the record.

24                Ms. Steele and Mr. Cooper.

25                COURTROOM DEPUTY:     Ms. Laura Steele, in
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 34 of 127

                                                                              34

1     Criminal Case No. 21-28-7, you've been charged with the

2     following counts:

3                 Count 1, conspiracy to obstruct an official

4     proceeding, in violation of Title 18 United States Code

5     Section 1512(k);

6                 Count 2, obstruction of an official proceeding and

7     aiding and abetting, in violation of Title 18 United States

8     Code Sections 1512(c)(2) and Section 2;

9                 Count 3, conspiracy to prevent an officer from

10    discharging any duties, in violation of Title 18

11    united States Code Section 372;

12                Count 4, destruction of government property and

13    aiding and abetting, in violation of Title 18 United States

14    Code Sections 1361 and Section 2;

15                Count 5, entering and remaining in a restricted

16    building or grounds, in violation of Title 18 United States

17    Code Section 1752(a)(1);

18                Count 7, civil disorder and aiding and abetting,

19    in violation of Title 18 United States Code Sections

20    231(a)(3) and Section 2;

21                And Count 8, tampering with documents or

22    proceedings and aiding and abetting, in violation of

23    Title 18 United States Code Sections 1512(c)(1) and

24    Section 2.

25                How do you wish to plead, and do you waive formal
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 35 of 127

                                                                              35

1     reading of the seventh superseding indictment?

2                 MR. COOPER:    Good morning, Your Honor.

3     Peter Cooper on behalf of Ms. Steele.

4                 At this time, we waive formal reading and

5     re-assert all of Ms. Steele's constitutional rights and

6     enter a plea of not guilty to all counts.

7                 THE COURT:    Thank you, Mr. Cooper.

8                 The record will reflect entry of a not-guilty plea

9     as to Ms. Steele.

10                Ms. Haller on behalf of Connie Meggs.

11                COURTROOM DEPUTY:     And, Ms. Connie Meggs, in

12    Criminal Case No. 21-28-8, you've been charged --

13                MS. HALLER:    Mr. Woodward, sorry.

14                COURTROOM DEPUTY:     Oh, okay.

15                You've been charged with the following counts:

16                Count 1, conspiracy to obstruct an official

17    proceeding, in violation of Title 18 United States Code

18    Section 1512(k);

19                Count 2, obstruction of an official proceeding and

20    aiding and abetting, in violation of Title 18 United States

21    Code, Sections 1512(c)(2) and Section 2;

22                Count 3, conspiracy to prevent an officer from

23    discharging any duties, in violation of Title 18

24    United States Code Section 372;

25                Count 4, destruction of government property and
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 36 of 127

                                                                              36

1     aiding and abetting, in violation of Title 18 United States

2     Code Sections 1361 and Section 2;

3                 And Count 5, entering and remaining in a

4     restricted building or grounds, in violation of Title 18

5     United States Code Section 1752(a)(1).

6                 How do you wish to plead, and do you wish to waive

7     formal reading of the seventh superseding indictment?

8                 MR. WOODWARD:    Good morning, Your Honor.

9     Stanley Woodward on behalf of Defendant Connie Meggs.

10                We will waive the formal reading of the

11    indictment, request the entry of a plea of not guilty as to

12    each count, and re-assert Ms. Meggs's Fifth and

13    Sixth Amendment rights.

14                THE COURT:    Thank you, Mr. Woodward.

15                Entry of not-guilty pleas will be reflected on the

16    record for Ms. Meggs.

17                Mr. Isaacs and Mr. Rossi.

18                COURTROOM DEPUTY:     Mr. William Isaacs, in

19    Criminal Case No. 21-28-16, you've been charged with the

20    following counts:

21                Count 1, conspiracy to obstruct an official

22    proceeding, in violation of Title 18 United States Code

23    Section 1512(k);

24                Count 2, obstruction of an official proceeding and

25    aiding and abetting, in violation of Title 18 United States
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                                                                              37

1     Code Sections 1512(c)(2) and Section 2;

2                 Count 3, conspiracy to prevent an officer from

3     discharging any duties, in violation of Title 18

4     United States Code Section 372;

5                 Count 4, destruction of government property and

6     aiding and abetting, in violation of Title 18 United States

7     Code Sections 1361 and Section 2;

8                 Count 5, entering and remaining in a restricted

9     building or grounds, in violation of Title 18 United States

10    Code, Sections 1752(a)(1); Count 6, civil disorder and

11    aiding and abetting, in violation of Title 18 United States

12    Code Sections 231(a)(3) and Section 2;

13                Count 7, civil disorder and aiding and abetting,

14    in violation of Title 18 United States Code Sections

15    231(a)(3) and Section 2;

16                Do you wish to waive formal reading of the seventh

17    superseding indictment, and how do you wish to plead?

18                MR. ROSSI:    Yes.

19                Gene Rossi and Natalie Napierala for Mr. Isaacs,

20    who's present.

21                We waive reading of the indictment, Your Honor.

22                Mr. Isaacs pleads not guilty to all seven counts,

23    and we re-assert our right to a jury trial.

24                THE COURT:    Thank you, Mr. Rossi.

25                MR. ROSSI:    And we plead not guilty, of course.
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                                                                                38

1                 THE COURT:    Thank you, Mr. Isaacs [sic].

2                 The record will reflect not-guilty pleas as to

3     Mr. Isaacs.

4                 All right.    That leaves Mr. Beeks and Mr. Uller --

5     or, I'm sorry, Ms. Ettinger.

6                 COURTROOM DEPUTY:     Mr. James Beeks --

7                 MR. MOSELEY:    Your Honor, Jon Moseley is here.

8                 THE COURT:    All right.     Thank you, Mr. Moseley.

9                 COURTROOM DEPUTY:     Mr. James Beeks, in

10    Criminal Case No. 21-28-19, you've been charged with the

11    following counts:

12                Count 1, conspiracy to obstruct an official

13    proceeding, in violation of Title 18 United States Code

14    Section 1512(k);

15                Count 2, obstruction of an official proceeding and

16    aiding and abetting, in violation of Title 18 United States

17    Code Sections 1512(c)(2) and Section 2;

18                Count 3, conspiracy to prevent an officer from

19    discharging any duties, in violation of Title 18

20    United States Code Section 372;

21                Count 4, destruction of an --

22                THE COURT:    Hang on, JC.

23                Mr. Moseley, I think that's you.            Could you mute

24    your line, please.

25                Go ahead, Mr. Douyon.
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                                                                              39

1                 COURTROOM DEPUTY:     Thank you, Your Honor.

2                 Sorry, Mr. Beeks.

3                 Count 4, destruction of government property and

4     aiding and abetting, in violation of Title 18 United States

5     Code Sections 1361 and Section 2;

6                 Count 5, entering and remaining in a restricted

7     building or grounds, in violation of Title 18 United States

8     Code Section 1752(a)(1);

9                 And Count 7, civil disorder and aiding and

10    abetting, in violation of Title 18 United States Code

11    Sections 231(a)(3) and Section 2.

12                Do you wish to waive formal reading of the seventh

13    superseding indictment, and how do you wish to plead?

14                MR. ULLER:    Good morning, Your Honor.

15                We'll waive formal reading of the indictment.

16    And as we did last time, we will stand silent as to a plea

17    in this matter.

18                THE COURT:    Okay.

19                So Mr. Beeks has then been arraigned.

20                Okay.   Now with Mr. Moseley back on the line, why

21    don't we jump back to Mr. Meggs in 22-CR-15 and have him

22    arraigned in that matter.

23                MR. MOSELEY:    Yes, I'm here.

24                COURTROOM DEPUTY:     Thank you, Mr. Moseley.

25                Mr. Kelly Meggs, in Criminal Case No. 22-15-2,
     Case 1:22-cr-00015-APM   Document 48   Filed 02/16/22   Page 40 of 127

                                                                                40

1     you've been charged with the following counts:

2                 Count 1, seditious conspiracy, in violation of

3     Title 18 United States Code Section 231 -- I'm sorry, in

4     violation of Title 18 United States Code Section 2384;

5                 Count 2, conspiracy to obstruct an official

6     proceeding, in violation of Title 18 United States Code

7     Section 1512(k);

8                 Count 3, obstruction of an official proceeding and

9     aiding and abetting, in violation of Title 18 United States

10    Code Sections 1512(c)(2) and Section 2;

11                Count 4, conspiracy to prevent an officer from

12    discharging any duties, in violation of Title 18

13    United States Code Section 372;

14                Count 5, destruction of government property and

15    aiding and abetting, in violation of Title 18 United States

16    Code Sections 1361 and Section 2;

17                And Count 10, tampering with documents or

18    proceedings and aiding and abetting, in violation of

19    Title 18 United States Code Sections 1512(c)(1) and

20    Section 2.

21                Do you wish to waive formal reading of the

22    indictment, and how do you wish to plead?

23                THE COURT:    Mr. Moseley.

24                MR. MOSELEY:    Yes, it would -- I will make sure he

25    has it -- I have the indictment and it's very lengthy.              So,
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1     yes, waive reading of that.

2                 THE COURT:    All right.

3                 Did I hear you waive the formal reading,

4     Mr. Moseley?

5                 MR. MOSELEY:    Yes.

6                 THE COURT:    All right.

7                 And entry of pleas on your client's behalf?

8                 MR. MOSELEY:    He pleads not guilty to each of

9     those counts.

10                THE COURT:    All right.

11                So not-guilty pleas as to each count against

12    Mr. Meggs.

13                And then finally, Mr. Walden, in 22-CR-14, and

14    Mr. MacMahon.

15                COURTROOM DEUPTY:      May the record reflect that

16    Mr. Walden, through counsel, has received a copy of the

17    indictment.

18                Mr. Jonathan Walden, in Criminal Case No. 22-14,

19    you've been charged with the following:

20                Count 1, destruction of an official proceeding and

21    aiding and abetting, in violation of Title 18 United States

22    Code Sections 1512(c)(2) and Section 2;

23                And Count 2, restricted building or grounds,

24    in violation of Title 18 United States Code Section

25    1752(a)(1).
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1                 Do you wish to waive formal reading of the

2     indictment, and how do you wish to plead?

3                 MR. MacMAHON:    Yeah, Edward MacMahon for

4     Mr. Walden.

5                 He does waive formal reading and enters a plea of

6     not guilty as to both counts.

7                 If I could ask you a question.          I think

8     Ms. Rakoczy didn't mention Mr. Walden's name in the

9     defendants that were dismissed out of the old case.              And if

10    I just missed it, I apologize to the Court, but I just want

11    to make sure that that's covered.

12                MS. RAKOCZY:    That is correct, Your Honor,

13    I neglected to do so, and I apologize.           Thank you to

14    Mr. MacMahon for raising that.

15                We would at this time formally move to dismiss the

16    counts against Mr. Walden in Case No. 21-CR-28.

17                MR. MacMAHON:    And there's no objection to that,

18    Your Honor.    Thank you.

19                THE COURT:    All right.     Thank you, Mr. MacMahon.

20                So, Mr. Walden, the government's motion will be

21    granted to dismiss 21-CR-28 against Mr. Walden.             The record

22    will reflect not-guilty pleas as to the counts against him

23    in 22-CR-14.

24                All right.    Thank you, everyone, for your

25    patience.    Hopefully we won't have to do that again.
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1     And it's just something we obviously have to go through.

2     And let's turn to the matters at hand.

3                 Here's what I hope to get through.          I want to just

4     talk briefly -- hopefully briefly, about the status of

5     discovery.    We'll then want to talk about scheduling and

6     what division of this case means for our trial dates.

7                 I'll then turn to defense counsel on each of the

8     cases -- excuse me, each of the defense counsel to raise any

9     issues you want to raise individually with respect to your

10    clients, and then there are some housekeeping and individual

11    matters I want to take up toward the end.

12                So, Ms. Rakoczy, before we ask you to provide

13    summary of discovery, can I just make sure that with respect

14    to all counsel who are on the line, with the exception of

15    newly entered counsel, that would be Mr. Rhodes and

16    Ms. Watkins, does everybody have access to Evidence.com?

17    And if you do not have access to Evidence.com, please let me

18    know right now.

19                Okay.   So I do take it that --

20                MR. GEYER:    Your Honor, I'm sorry, this is

21    Brad Geyer for Kenneth Harrelson.

22                We've not been able to get the waiver signed

23    for -- I'm sorry, not the waivers, the agreements with the

24    government regarding disclosure under the protective order

25    with either Meggs or Harrelson.        I was there on Saturday;
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1     I was prevented access; I could not see them.

2                 In addition, there's so much discovery, it's a

3     constant wave.     So I've not accessed the Evidence.com

4     database; I'm still wading through everything else.

5                 THE COURT:    I guess the question -- hang on,

6     Mr. Geyer.

7                 And maybe I'm wrong.      I thought that all that

8     needed to be done was to apply for a license.              Am I wrong

9     about that?

10                MR. MOSELEY:    Well, this is Jon Moseley.

11                We got approval; I got approval.            But when I first

12    tried to look at it, there was nothing there, and there were

13    some -- I guess they have to link it to our pool.               So I

14    haven't had a chance to look through other discovery to make

15    sure there's data loaded for my account.

16                THE COURT:    I guess the question is:          Have you

17    both obtained your licenses to be on Evidence.com platform?

18                MR. MOSELEY:    Yes.

19                MR. GEYER:    I have not.

20                THE COURT:    All right.

21                Well, Mr. Geyer, you need to do that --

22                MR. GEYER:    Okay.    Will do.

23                THE COURT:    -- because we talked about it last

24    night, that's where all the video evidence is.

25                MR. GEYER:    Yeah.
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1                 THE COURT:    And, you know, we'll talk about what

2     all of this means for your client.

3                 But, you know --

4                 MR. GEYER:    Okay.

5                 THE COURT:    -- it's on the record now that it's

6     been at least 30 days since you've got access or potential

7     access to Evidence.com through obtaining a license and it

8     still hasn't happened, so that needs to get done.

9                 MR. GEYER:    Your Honor, just for the record,

10    there's some disclosures that came to my attention the last

11    30 days that have drawn my attention, but I'll get that

12    done.

13                THE COURT:    All right.

14                MR. LINDER:    Your Honor, Phillip Linder on behalf

15    of Stewart Rhodes.

16                THE COURT:    Yes.

17                MR. LINDER:    We are not on Evidence.com yet

18    because we are new.      But I will say Ms. Rakoczy has FedExed

19    us four terabytes of discovery with an index.             And she's

20    bent over backwards trying to get us discovery.             So I

21    anticipate we'll be on Evidence.com shortly.

22                THE COURT:    Okay.   Terrific, Mr. Linder.

23                And then obviously for Mr. Crisp, you should

24    contact, I think it's the Federal Public Defender, in order

25    to get whatever license you need for Evidence.com, okay?
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1                 MR. LINDER:    We've already taken steps to do that,

2     Your Honor, but thank you.

3                 THE COURT:    All right.     Thank you.

4                 So Ms. Rakoczy, can you bring us up to speed?

5     In particular, I understand the Relativity database is now

6     potentially available to defense counsel, and I want to make

7     sure all defense counsel understand what the status of that

8     is and what you need to get access to.

9                 MS. RAKOCZY:    Yes, Your Honor.

10                If I may, before we move on from an issue raised

11    by Mr. Geyer, I think Mr. Geyer was trying to refer the

12    Court to the fact that in order for incarcerated defendants

13    to get access to the instances of Evidence.com and

14    Relativity that will be made available to the incarcerated

15    defendants, they either need to sign the acknowledgment to

16    the protective order, or, at a hearing such as this, the

17    Court can make sure that they've been admonished as to the

18    terms of the protective order, that they have read it and

19    reviewed it with their clients -- with their defense

20    counsel, and that they're willing to abide by the terms.

21    And so if the Court would indulge doing that now, I think

22    that that could save Mr. Geyer and Mr. Moseley the trouble

23    of doing that with their clients.

24                I'm not sure if that is also an issue for

25    Mr. Linder with respect to Mr. Rhodes.           I know they had,
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1     I think, discussed the protective order with their client,

2     but we can hold off on that for Mr. Rhodes.

3                 But for Mr. Meggs and for Mr. Harrelson, all that

4     we need to make sure that they are admonished about is that

5     they have, in fact, read the protective order, they

6     understand and agree to abide by its terms, and that they've

7     had sufficient time to discuss it with their counsel, and

8     that they agree to it.

9                 THE COURT:    Okay.

10                MR. MOSELEY:    That would be great, if we could do

11    that.

12                THE COURT:    All right.     Let's go ahead and do

13    that.

14                DEFENDANT KELLY MEGGS:       Your Honor, this is

15    Mr. Meggs.

16                They're refusing to let our counsel bring those

17    documents to us here at the jail.

18                THE COURT:    No, I understand.       I think -- well,

19    I'm not --

20                MR. GEYER:    Your Honor, this is Brad Geyer.

21                THE COURT:    Hang on, hang on.

22                MR. GEYER:    Okay.

23                THE COURT:    Can we not talk over one another?

24    We've got too many lawyers and individual defendants.

25                Some of this may be -- the inability to get to
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1     some of these defendants right now may be attributable to

2     the fact that they're on quarantine, is my understanding.

3                 MR. GEYER:    Your Honor, if I may,

4     Mr. Harrelson was put into isolation right after --

5                 THE COURT:    Mr. Geyer, I'm going to tell you right

6     now -- Mr. Geyer, do not talk over each other.            While I'm

7     speaking, please don't interrupt me; there will be plenty of

8     opportunity to respond once I'm done.

9                 But in any event, that's my understanding as to

10    why there's been some difficulty.

11                Let's do the following:

12                Let me start with Mr. Meggs, and let me just ask

13    him.

14                Mr. Meggs, have you received a copy of the

15    protective order in this case?

16                DEFENDANT KELLY MEGGS:      I have not, Your Honor.

17                THE COURT:    You have not.

18                DEFENDANT KELLY MEGGS:      Nor do we have access to

19    Evidence.com.

20                THE COURT:    Well, I understand that you don't have

21    access to Evidence.com.

22                But have you had a chance -- have you seen a copy

23    of the protective order in this case?

24                DEFENDANT KELLY MEGGS:      No, Your Honor.

25                THE COURT:    Okay.
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1                 Let's turn to Mr. Harrelson.

2                 Mr. Harrelson, have you received a copy of the

3     protective order in this case?

4                 DEFENDANT HARRELSON:      I have not, Your Honor.

5                 THE COURT:    Okay.   Well, I think that prevents us

6     from moving forward orally, and so we'll just have to

7     continue to work with the jail.

8                 I will ask -- I will run interference with the

9     General Counsel at the DOC to get Mr. Moseley and

10    Mr. Geyer's clients copies of those protective orders and to

11    make sure that they can get those discussed and signed in

12    short order, okay?

13                MS. RAKOCZY:    Yes, Your Honor.

14                And just for the record and for Mr. Crisp's

15    benefit, Defendant Jessica Watkins did, through counsel,

16    return a signed copy of the protective order acknowledgment

17    earlier in this case.      So there's not a -- there shouldn't

18    be cause for delay in getting her access to the materials.

19                THE COURT:    All right.

20                Ms. Rakoczy, why don't we then turn to summation

21    of where things stand for discovery, as well as

22    Relativity.com.

23                MS. RAKOCZY:    Yes, Your Honor.

24                With respect to the discovery in this particular

25    case, this particular matter, although there is an ongoing
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1     investigation, obviously at this point we are coming to a

2     point where a lot of the investigation and a lot of the

3     discovery -- most of the discovery that is relevant to this

4     particular case has been provided.

5                 There are some outstanding matters that we aim to

6     be producing in the next four to six weeks, and that would

7     include some civilian witness interviews, reports, or to the

8     extent that they exist, recordings or transcripts that would

9     constitute Jencks material, but that we aim to provide in

10    the near future so that it can aid in the preparation of the

11    defense and preparation for trial.

12                With respect to the electronic evidence that's

13    been gathered from devices and SEA accounts, we have at this

14    point concluded the scoping of the devices and accounts of

15    all of the charged defendants, with the exception of

16    Mr. Beeks, and there may be a device or account for the

17    newly added defendants, Mr. Rhodes and Mr. Vallejo, that we

18    need to complete scoping on.

19                But we have been providing those scoped versions

20    of those search warrant returns to defense counsel on a

21    rolling basis.     And hopefully by the end of this week,

22    we will provide to all counsel a hard copy of all of those

23    scoped versions of the returns so that they have them in one

24    place to make it a little bit easier since those haven't

25    been provided on a rolling basis.        That covers, obviously, a
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1     significant portion of evidence, the discovery, in this

2     case.

3                 There are some additional electronic devices or

4     accounts that have been searched for non-charged

5     individuals, for either uncharged subjects or individuals

6     who would be more properly categorized as purely a witness,

7     and that is the next phase of discovery that we also hope to

8     turn to and wrap up in the next four to six weeks.               And so

9     that's just to give the Court a sense of the fact that there

10    is some ongoing discovery.

11                There are also obviously some FBI reports that

12    will be discoverable from the ongoing investigation and that

13    will be provided in the coming weeks.            But we do feel like

14    we're coming to a point of wrapping up the discovery that's

15    specific to this case, hopefully, with plenty of time to

16    prepare for the future trial dates.

17                With respect to the global discovery materials, as

18    the Court alluded to, there are these two platforms,

19    Evidence.com and Relativity.          Both platforms are now

20    available to be accessed by all defense counsel.

21    I understand that last week, the Relativity defense instance

22    went live and that information was disseminated to the

23    Defense Bar about how to apply for their licenses.

24                The materials that we have been providing through

25    global discovery productions through USAfx, the file-sharing
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1     system, have all been loaded into Evidence.com and

2     Relativity, the defense instances of both platforms.               And so

3     the defense should, hopefully, be able to now access those

4     materials more easily.      And going forward, I think the hope

5     is that we will be able to make productions through those

6     platforms and not to have to rely on Evidence -- I'm sorry,

7     USAfx, the cloud-based file-sharing system.             And the hope is

8     that that will make it both much easier to receive the

9     discovery for defense and to search through and utilize the

10    discovery.

11                That fact notwithstanding, just for the Court's

12    information, we have made, I believe, two to three global

13    discovery productions since we were last before the Court,

14    or at least since we last filed a formal status update, that

15    did include additional materials that should be helpful to

16    the defense.    So I believe that's an update about where we

17    stand with global discovery and case-specific discovery.

18                THE COURT:    All right.     Thank you, Ms. Rakoczy.

19                All right.    Let's talk about where we go from

20    here.   We presently have two trial dates, one April 19th,

21    one July 11th.     Originally they were conceived and set.               The

22    April 19th date would be the date during -- in which at

23    least the three held defendants would go, and potentially

24    two to three more.      That obviously has been impacted by the

25    way in which the government has recharged these matters with
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1     two additional defendants being brought into 22-CR-15.

2                 I guess, Ms. Rakoczy, let me just ask what the

3     government's thoughts are about an April trial date, who

4     might be in that trial date, and in addressing that, whether

5     you've had discussions with defendants that you might

6     think -- you can choose to identify them or not -- that

7     might impact who might be available to go to trial in April.

8                 MS. RAKOCZY:    Your Honor, we have had some

9     conversations with defense counsel about who it would make

10    sense to put in an April trial date, although I have to let

11    the Court know that -- I don't want to speak for any defense

12    counsel who represent detained defendants, but we had been

13    getting a sense in recent weeks, I think even before the

14    superseding indictment in the 21-CR-28 case and then the new

15    indictment in the 22-CR-15 case, that a number of the

16    defense attorneys did not feel that it would be prudent to

17    have an April trial date.      So I think that the position of

18    the detained defendants impacts that quite a bit.

19                And I think that at this point, it is appearing as

20    though the attorneys for many of the detained defendants

21    would be more comfortable with the July trial date.             Again,

22    I don't want to speak for them, but if that is the case,

23    I think the 22-CR-15 case would be looking like a more

24    eligible candidate for the July trial date.

25                And I think we still have some time and some
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1     conversations to have with counsel for the defendants in

2     that case to see whether anyone's interested in accepting a

3     guilty plea and where we will be left with in terms of the

4     defendants in that case and whether we will be left with a

5     number such that everyone charged in that case could be

6     tried in one trial or whether that would have to be worked

7     in --

8                 THE COURT:    When you're referring to "that case,"

9     are you referring to U.S. versus Rhodes case, or are you

10    talking about what's now U.S. versus Crowl?

11                MS. RAKOCZY:    Yes.

12                So with respect to U.S. versus Rhodes, because

13    there are two new defendants who need some time to review

14    discovery and discuss what they would like to do with the

15    case and because there may be a possibility that the new

16    indictment may change the perspective of some defendants on

17    their thoughts on what they want to do with the case, we

18    have continued discussions with defense counsel about their

19    thoughts on pleading guilty.

20                And so that's a long way of my saying, Your Honor,

21    that I think that the 22-CR-15 case, the Rhodes case, is a

22    better candidate for a July trial date, but that I don't

23    think it would be prudent to set the precise group of who

24    would be in that trial date at this time, because I do think

25    there are some ongoing discussions about possible
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1     resolutions short of trial.

2                 So I think that would, in other words, leave the

3     potential to have the defendants in the U.S. versus Crowl

4     case, 21-CR-28, go to trial in April.          But I think based on

5     a number of my conversations with counsel for the defendants

6     in those cases, I also do not think that many of those

7     counsel believe it's prudent to go to trial in April in that

8     case.

9                 And while I think that in this case we are pretty

10    close to getting the discovery complete in a reasonable time

11    period to still prepare for a trial, an April trial date,

12    I'm just not sure that I can say with certainty that the

13    global discovery will be where it needs to be for all those

14    counsel to be prepared for an April trial date.

15                I'm not speaking on behalf of our office, because

16    we will be filing a discovery status report that's more

17    formal with respect to all of the global discovery next

18    week, and I think that will address a lot, with a lot more

19    precision, when the global discovery might be wrapped up,

20    but I just -- I want to flag for the Court that I think it

21    might be imprudent to continue with an April trial date from

22    a discovery point of view as well.         So I think both from a

23    discovery perspective and what I've heard from some defense

24    counsel, without trying to speak for them, an April trial

25    date is seeming somewhat imprudent at this time.
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1                 MR. LINDER:    Your Honor, on behalf of Mr. Rhodes,

2     Ms. Rakoczy and I had these conversations this week when she

3     was here in Dallas for the detention hearing, she is

4     corroborating what we've talked about.

5                 We agree, since we're new -- and I don't want to

6     speak for the other counsel on this, the other co-counsel on

7     these other defendants -- we think the July trial date would

8     work great for us; it gives us enough time to get ready.

9     And I've been told we need to plan on as many as four or

10    five weeks to be in trial.      I don't know what the Court's

11    schedule is.    But that gives us enough time if we have a

12    hard setting, for us to get ready.         And I'll let the other

13    attorneys speak on their behalf, on behalf of their clients.

14    But April would just be too early for us.

15                THE COURT:    Look, I suspected as much, with

16    respect to the new indictments against Mr. Rhodes and

17    others, that an April trial date was just not going to be

18    feasible.

19                I think the question is whether we can still hold

20    an April trial date with respect to the defendants who

21    remain in 22-CR-15, and that is:        Mr. Crowl, Ms. Parker,

22    Ms. Meggs -- excuse me, Mr. and Ms. Parker, Ms. Meggs,

23    Ms. Steele, and Mr. Isaacs, and maybe Mr. Beeks, although he

24    is fairly recently added to this mix of -- he's fairly

25    recently added to all of this in November.
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1                 So, you know, I'm inclined, unless there is strong

2     resistance, to have the trial date set in 21-CR-28 move

3     forward in April.       I mean, I've looked at when all of these

4     defendants have appeared.       Mr. Crowl's first appearance was

5     in March.    The same is true for the Parkers; same is true

6     for Ms. Meggs.     Ms. Steele was arrested in February of last

7     year, and Mr. Isaacs was in May.

8                 It's now been nearly a year -- it will be over a

9     year by the time we get to April 19th for that trial, and

10    that seems to me to be ample time to be ready and prepared.

11    I know discovery has been rolling out slowly, but, you know,

12    you've got to be mindful about getting these cases to trial.

13    And if this thing doesn't go to trial in April, I've got to

14    tell you, my schedule is not -- is going to be increasingly

15    difficult to carve out a month, even in 2022, to have a

16    trial.   And so I very much would like to continue to have

17    this April trial date with those defendants who were in

18    21-CR-28.

19                So let me just turn to the counsel in that case,

20    start with Ms. Hernandez and go down the line, and get your

21    reaction to all of this.       But, you know, absent some reason

22    to think that you are not going to be prepared, I'm inclined

23    to have that group of defendants set up for trial on

24    April 19th.

25                MS. HERNANDEZ:     Your Honor, I have a
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1     four-defendant case that's been pending since 2018, had a

2     2020 trial date that was rescheduled because of COVID in

3     front of Judge Boasberg, that's scheduled for the end of

4     March.

5                 I understood from Judge Boasberg that he spoke to

6     Your Honor about relieving me from the April trial date.

7     And so that case -- I can't be ready for an April 19th date.

8     That's four defendants, kidnapping that resulted in death.

9     As I say, they were indicted in 2018, we had a trial date in

10    2020, and other trial dates that have gotten continued

11    because of COVID, number one.

12                Number two, Your Honor, I'm not sure the Court

13    understands, but the new indictment, the superseding

14    indictment in Crowl, continues to list the nine Rhodes

15    defendants as co-conspirators, including Mr. Rhodes and

16    Mr. Vallejo, and continues to -- the body of the indictment

17    continues to quote a number of statements made by Rhodes,

18    Vallejo -- I'm not sure about Vallejo, QRF people and others

19    who are not actually indicted, but I'm not sure -- but the

20    government's position appears to be that they will seek to

21    introduce that information as co-conspirator statements.                So

22    just because we got -- the case got smaller, apparently, it

23    doesn't mean that the scope of the evidence has narrowed.

24    It appears -- I think that --

25                THE COURT:    No.   I understand.
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1                 That, I understand.

2                 All right.    Let me just, Mr. Machado and

3     Mr. Brennwald and Mr. Cooper and then Ms. Haller.

4                 MR. MACHADO:    Your Honor, John Machado on behalf

5     of Sandra Parker.

6                 Your Honor, if we have to be ready for an April

7     date, we will be, although that would not be my preference,

8     it's not my client's preference either.

9                 I will mention that with regard to the Relativity,

10    while it's been put online, my understanding from the Public

11    Defender Service is that we're not going to be able to get

12    any training or access to any training until at least

13    February 2nd.    So that puts us a little further behind.               And

14    I really don't know to what extent we're looking at as far

15    as the amount of materials.

16                I will do it, if the Court needs to be an April

17    date, I will make myself available, I set those dates out.

18    But I'm not in any rush for that to happen, Your Honor.                 And

19    my preference would be that we would not proceed in April.

20    But, then again, you're the judge and I'm the attorney and

21    whatever the Court decides, I'll follow.           Thank you.

22                THE COURT:    Mr. Brennwald.

23                MR. BRENNWALD:    Your Honor, I don't see how in the

24    world I can be ready for a trial in April.

25                Number one, as Mr. Machado said, we're not going
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1     to even receive training for another month on some of these

2     issues.

3                 Number two, we've just received -- the government

4     just finished up its compilation, I guess, of all the

5     discovery that they have been talking about providing for

6     months and months and months.

7                 Number three, the indictment that includes

8     Mr. Rhodes and others is -- has been extremely enlightening

9     to us as far as the Oath Keepers and other alleged groups

10    and how it would relate to us, our clients, and so we're

11    actually learning an awful lot now that we didn't know

12    before.

13                I cannot see how I could possibly be ready for

14    this trial in April.      And Mr. Machado's very polite and very

15    deferential and I understand that.         I, on the other hand,

16    I feel like I need to push back a little bit because I just

17    don't see how my client is going to get a fair trial with my

18    ability to prepare at this point, for all of the above

19    reasons.

20                THE COURT:    Mr. Cooper.

21                MR. COOPER:    Your Honor, I also appreciate

22    Mr. Machado's politeness, but I think I'm with Mr. Brennwald

23    on this one and echo his concerns.

24                THE COURT:    Ms. Haller and Mr. Woodward.

25                MS. HALLER:    Your Honor, we would like to discuss
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1     it with our client, number one.

2                 But, number two, the challenge we face is, as

3     Ms. Hernandez pointed out, discovery is ongoing, we have a

4     new count added in this.      While the defendants are dropped

5     out, they are co-conspirators, so there is an ongoing

6     discovery issue, we would -- which then would lead to

7     potential motions.      So we would respectfully request at

8     least an opportunity to discuss it with our client.

9                 THE COURT:    Okay.

10                Mr. Rossi, on behalf of Mr. Isaacs.

11                MR. ROSSI:    Well, Mr. Machado was very polite,

12    with the utmost respect.

13                We would definitely want a continuance,

14    Your Honor.    We -- Ms. Rakoczy, she did speak for us.             There

15    is an ongoing production of discovery, it could take four to

16    six more weeks, and I'm not sure that we're going to have

17    all the discovery in time to prepare for the August 19th

18    [sic] trial.    And Ms. Hernandez has got a trial that was set

19    early, so she's part of our indictment 28.             We would not be

20    ready.   We would not be ready, period, end of story.

21                THE COURT:    The story doesn't quite end when you

22    say the story ends.      So let me figure out --

23                MR. ULLER:    Judge, Josh Uller here for Mr. Beeks.

24    We're also in the 21-CR-28 indictment.

25                And as the Court previously indicated, Mr. Beeks
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1     was indicted either at the very end of April or early

2     December.

3                 At this juncture, we still don't have the vast

4     majority of the discovery specific to Mr. Beeks.                We also,

5     in agreement with the government, set a motions schedule for

6     Mr. Beeks on Rule 12 motions.         That goes -- that schedule

7     takes us into April.

8                 I don't think anyone expected Mr. Beeks to be

9     included in the April trial date, but I guess I just want to

10    make it clear, to the extent it's not, that we will not be

11    in a position to go to trial in April.

12                THE COURT:    Look, folks, this is not going to come

13    as welcome news to anyone.

14                I hear all of the reasons to move this case, and

15    I've heard all of defense counsel's positions, but this

16    trial date is going to have to hold.          Whether Mr. Crowl is

17    able to participate in that because of his lawyer's conflict

18    will remain to be seen.      Maybe that case pleads out, maybe

19    it doesn't.

20                But, you know, we have been at this now for a very

21    long time, well over a year with respect to the defendants

22    in this case.    The scope of the case has not changed by

23    virtue of the new superseding indictment.               Yes, there have

24    been new charges added, but those charges don't add anything

25    in terms of the scope of the case.
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1                 I understand some discovery is still ongoing, but,

2     again, it's really -- I'm not going to let the tail wag the

3     dog here.    You all had the bulk of the key discovery now for

4     a very long time.       The case-specific discovery has largely

5     been pushed out by the government and the defense has had it

6     for months.

7                 MR. GEYER:     Your Honor, this is Brad Geyer.

8                 THE COURT:     Mr. Geyer, I've asked you already once

9     not to interrupt me, and you've done it yet again.

10    So this actually doesn't involve your client, so it's sort

11    of shocking to me that you'd do that, but you'll have an

12    opportunity to be heard.

13                This case has got to go forward.           And I hear

14    everybody and you've had a chance say your piece.              But at

15    some point, these cases have got to get to trial.              And it

16    seems to me -- this has been on the calendar now for six

17    months, I've asked everybody to keep these dates available,

18    and I'm prepared to try it in April, and I just think

19    everybody else is going to have to get up to speed and be

20    prepared to try it in April as well.

21                So what I'm prepared to do is as follows:

22    Mr. Crowl, the Parkers and Ms. Meggs and Ms. Steele and

23    Mr. Isaacs will be in an April trial date, beginning

24    April 19th.    Mr. Beeks, because he is a late addition and

25    wasn't arrested in this case until late November, I believe,
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1     and it's just simply not, I think, realistic to expect that

2     he would be available for a trial as soon as April 19th, and

3     so I'll exclude him from that group.

4                 So that'll be the group we have for trial, for the

5     April trial date.       We will get out a pretrial schedule for

6     April.   There will be dates for any additional Rule 12

7     motions that anybody wishes to file, as well as motions in

8     limine that anybody wishes to file.           I will obviously have

9     all -- we'll set some additional dates as we proceed, as we

10    move closer to that date.

11                I'm just pausing to see whether we ought to --

12    we haven't set a Pretrial Conference in that case,

13    I believe.    So let's do that right now for those counsel and

14    those defendants.

15                How about April 11th?        Is everybody available on

16    April 11th at 1:00 p.m.?

17                MS. RAKOCZY:     That's a good day for the

18    government, Your Honor.

19                MR. ROSSI:     Your Honor, I have a trial on that

20    day.

21                MR. COOPER:     Your Honor, so do I.

22                THE COURT:     I'm sorry?

23                MR. ROSSI:     Your Honor, I apologize.

24                I have a trial on that day, and my co-counsel,

25    Charles Green, also has a trial right around that time.
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1                 MR. COOPER:    And I do, too, Your Honor.         I have

2     one in Super. Court that day.

3                 MS. HERNANDEZ:    I'm in trial in front of

4     Judge Boasberg on that day.

5                 THE COURT:    Understood.

6                 How about later in that week, is everybody still

7     in trial?

8                 MR. COOPER:    No, I think I could do that.

9                 MR. ROSSI:    Later in the week, I could do that.

10    I'm not sure my co-counsel -- if it involves one attorney,

11    I could do it, yes, with Ms. Napierala.

12                MR. MACHADO:    Your Honor, I have a trial on

13    Wednesday.    But if we're doing this online, then I'm

14    available any day other than that.

15                THE COURT:    So you have a trial on Wednesday,

16    what, April 13th?

17                MR. MACHADO:    Yes.

18                It's a misdemeanor in Superior Court; I'll move it

19    if necessary.

20                THE COURT:    Okay.    You may need to move that.

21                MS. HERNANDEZ:    Your Honor?

22                THE COURT:    Yeah.

23                MS. HERNANDEZ:    I'm sorry.

24                If the Court could schedule things on Friday,

25    I believe Judge Boasberg won't sit on Friday, but I don't
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1     know what the Court's schedule is.

2                 THE COURT:    I'm supposed to be presiding over a

3     trial on April the 8th.

4                 So why don't we set April the 14th for pretrial in

5     this case at 1:00 p.m.

6                 So we'll back out a schedule from April the 18th

7     for motions and other disclosures, and we'll leave it at

8     that with respect to that trial.         And as to those

9     defendants, we will have to figure out what the situation is

10    for Mr. Beeks as we move forward and set, perhaps, a

11    separate trial date for him.

12                Okay.   So that then --

13                MR. ROSSI:    Your Honor?

14                THE COURT:    Mr. Rossi.

15                MR. ROSSI:    First off, I apologize to Your Honor,

16    for saying "end of story," but I've got to give it one more

17    shot on the continuance request.

18                I can't stress enough.       I get Your Honor's point

19    that the cases have been languishing since, seems like, ten

20    years.   But this is the largest federal investigation in the

21    history of the United States Department of Justice, and the

22    number of documents, number of videos, it's almost

23    light-years, and it's not like an ordinary case.

24                THE COURT:    Mr. Isaacs, I --

25                MR. ROSSI:    I've just got to give it one more
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1     shot, Your Honor.

2                 I really believe -- I really believe that this is

3     in the best interests of justice, fairness, and all the

4     parties if we try to continue this case.

5                 THE COURT:    Understood.

6                 Look, I am sympathetic; I understand that.

7                 On the other hand, as I said earlier, the core

8     discovery has been in the hands of defense counsel now for

9     months and months and months.         And, yes, the government has

10    been rolling out additional discovery; you've only recently

11    got access to some of these databases.           We're still three

12    months away from trial.      There is ample time to get ready,

13    in my view, and there has been ample time to get ready.

14                And so while I understand this is a large case,

15    I understand the large volume of evidence that the

16    government is rolling out, I also understand that a large

17    percentage of it has nothing to do with these individuals.

18    And so, you know, all are going have to focus on what

19    matters; that's why you're trial counsel.               You're going to

20    focus on what matters, and be prepared to try this case in

21    April based on the evidence as it relates to your clients.

22                And so that's where I am on this.            I cannot

23    continue this -- continue to continue these cases, at least

24    for these defendants.      And, frankly, I'm also conscious of

25    what the public interest is in getting these cases to trial.
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1     And so that's where I am.      And so you-all are going to have

2     to be ready for an April trial date.

3                 MS. HERNANDEZ:    I'm sorry, Your Honor, may I be

4     heard on the issue of discovery?

5                 The government, I think in the last two weeks,

6     just produced a bulk of discovery, case-related, not the

7     global stuff that may or may not apply to us, case-related.

8     And from what Ms. Rakoczy has told us, that continues to be

9     a case.   It's not one or two.        We're talking about the QRF

10    people.

11                I don't know, are there are hundreds of hours of

12    video and audio and reports of interviews with them which --

13    and these are not peripheral witnesses, these are witnesses

14    who are listed -- whose statements are listed in the

15    indictment.    So it is not -- the bulk of the case-related

16    discovery is still coming on and there -- I've requested

17    particular --

18                THE COURT:    I think that's not true,

19    Ms. Hernandez.     I'm not doubting your --

20                MS. HERNANDEZ:    Maybe Ms. Rakoczy --

21                THE COURT:    I'm not doubting what you say, that

22    some discovery is still coming out case-related, but I doubt

23    it is the bulk of discovery.

24                MS. HERNANDEZ:    Maybe Ms. Rakoczy -- I would ask

25    the Court to allow counsel to file something with the Court
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1     setting out exactly what's pending.

2                 I don't -- I don't want to take up the Court's

3     time with this many people on, but perhaps if we set it out

4     in writing and Ms. Rakoczy can back us up or not as -- not

5     just Ms. Rakoczy but the government -- as to what else is

6     left.

7                 It's my understanding there's still a lot coming.

8                 THE COURT:    Okay.

9                 MR. WOODWARD:    Your Honor --

10                THE COURT:    You-all can file what you want and

11    I'll consider it.

12                All right.    Let's move forward then.

13                MS. HALLER:    Your Honor?

14                THE COURT:    Yes, Ms. Haller.

15                MS. HALLER:    What about the jury questionnaire?

16    We had discussed that.

17                THE COURT:    I'm going to get to that in a second,

18    Ms. Haller, so thank you for raising that.

19                With respect to the July 11th trial date, what

20    that means is that everybody in the other case, that is,

21    what is now 22-CR-15, should be on notice that that's your

22    trial date now.     Whether we're going to have all

23    11 defendants in that trial or not remains to be seen.              Some

24    of that is going to depend upon pleas.          If not everybody --

25    if we have 11 defendants, if we have even sort of, you know,
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1     seven, eight, nine defendants, that case may need to be

2     split up just because of capacity issues, but we'll have to

3     make that decision as we get closer to that date.              But for

4     now, let's -- you-all ought to make sure those dates are

5     available to you.

6                 I'm also going to set a trial date as a backup

7     trial date for any sort of spillover defendants for that

8     July 11th trial.        And that trial will start September 26th.

9     So all defense counsel who are in 22-CR-15 should hold

10    September 26th and the next four weeks for trial in that

11    case.   And we will just have to see what we're going to do

12    with Mr. Beeks.     As I said, we'll figure that out as we move

13    forward.

14                Let me ask Mr. MacMahon and Mr. Walden what you

15    will like to do in terms of setting a trial.

16                Mr. MacMahon.

17                MR. MacMAHON:      All right.

18                Your Honor, I don't -- I haven't had a chance to,

19    since the case got severed out, have a discussion with

20    Ms. Rakoczy or any other prosecutors about how long they

21    think our case is going to take, since it doesn't involve so

22    many people.    So I would -- and I figured you were going to

23    ask me that question.

24                And maybe the best thing to do is to have -- give

25    us a status -- as far as I can tell now that we're just, you
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1     know, a single-defendant case that's sitting out there, if

2     we just had our own status conference in 30 days, we might

3     be able to discuss amongst and between us some trial dates

4     and how long we think it might go.

5                 And I don't mean to delay, I just think that's

6     probably the best thing for us to do at this point in time.

7                 THE COURT:    I think that makes some sense,

8     Mr. MacMahon.

9                 So we'll hold off.

10                Let's set a status conference for Mr. Walden while

11    we're all together.      How about February the 18th at

12    3:00 p.m.?

13                MR. MACHADO:    That's fine with me, Your Honor.

14                MS. RAKOCZY:    Yes, Your Honor, that's good for the

15    government.

16                MR. SPINA:    I'm looking myself.

17                I apologize, I don't sound great.

18                February 18th works for me as well.

19                THE COURT:    Thank you, Mr. Spina.

20                All right.    So I think these are our schedules,

21    that will be the schedules moving forward.             As I said, we'll

22    issue a pretrial schedule for the April trial.             We'll hold

23    off on doing that for July.

24                What I'd like to now do is set some dates.             And

25    we're going to start treating these cases as separate cases
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1     and put them on separate tracks.

2                 So let's just set status conferences as we move

3     forward to trial in both of these cases.

4                 So for the U.S. versus Crowl case, is everybody

5     available for a status conference March 4th at 11:00 a.m.?

6                 MR. ROSSI:    That's fine, Your Honor.

7                 MR. COOPER:    That's fine with me also, Your Honor.

8     Thank you.

9                 MR. ULLER:    That works for Mr. Beeks.

10                THE COURT:    All right.     So march 4th at 11:00 a.m.

11    for that status conference.

12                And we will do March 4th at 1:00, if everyone is

13    available, for a status conference in the Rhodes matter.

14                MR. FISCHER:    That works for Mr. Caldwell.

15                THE COURT:    Okay.

16                So those will be the next status conference dates

17    that we have.

18                All right.    Let's then -- it's now 12:30 and we've

19    still got a couple more things we need to take care of here.

20    So that'll be our scheduling -- I think that takes care of

21    all scheduling matters.

22                With respect to the questionnaire, let's talk

23    about that for the April trial date while we're at it and

24    whether the parties are intending to ask for a special jury

25    panel and then have a questionnaire go out in advance.
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1                 Ms. Rakoczy, has the government given that thought

2     and begun developing such a questionnaire?

3                 MS. RAKOCZY:    Your Honor, we have leaned in favor

4     of that, and I think most defense counsel also leaned in

5     favor of that.     We have not begun drafting it, but we can do

6     so promptly.

7                 THE COURT:    Okay.

8                 Well, I'll ask you all to do that.          We'll have to

9     find out by when that questionnaire will need to be mailed;

10    I think it's six to eight weeks.        So we'll find that out and

11    we'll provide that information.

12                Mr. Douyon, do you know off the top of your head

13    how far in advance a special panel needs to be requested?

14                COURTROOM DEPUTY:     I believe they want ten weeks,

15    and I believe that date is February 8th.

16                THE COURT:    Okay.   So it may be February 8th, but

17    maybe there'll be some give in the joints on that.

18                We'll find out on our end what what's the sort of

19    last date available to do that, and we may need to set down

20    a conference and some schedule with respect to the

21    questionnaire.     But everybody ought to be on notice that we

22    ought to start moving towards drafting something and having

23    that ready to go out in the next three or four weeks.

24                MR. BRENNWALD:    Your Honor, Stephen Brennwald on

25    behalf of Mr. Parker.
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1                 Is the Court going to, in its scheduling order, is

2     it going to include dates by which the government needs to

3     provide us a witness list and an exhibit list so that we

4     have adequate time to investigate based upon that specific

5     information?

6                 Because otherwise you have the wide-open scenario

7     where there could be dozens of officers, dozens of

8     civilians, dozens of people testifying about videos and

9     chain of custody, and it's just not something we can just

10    handle at the last minute.

11                THE COURT:    The short answer is yes.

12                MR. BRENNWALD:    Okay.

13                THE COURT:    I haven't yet figured out when that

14    date will be, but my usual pretrial does require that, okay?

15                All right.    Let's then take a moment here and if

16    there are any clients-specific issues that any defense

17    counsel wants to raise, now would be an opportune time to do

18    it.   I'll then have a few housekeeping matters that I'll

19    need to deal with some individual defendants.

20                MR. LINDER:    Your Honor, Phillip Linder on behalf

21    of Mr. Rhodes.     We do have a housekeeping issue.

22                THE COURT:    Hang on, Mr. Linder.

23                I want to explain the order.        I'll start with

24    Mr. Linder in the Rhodes matter and then we'll turn to

25    counsel in the Crowl case.      But go ahead, Mr. Linder.
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1                 MR. LINDER:    Thank you, Your Honor.

2                 Ms. Rakoczy and I have spoken.          And as you're

3     aware, you may be aware, the judge here hasn't ruled on the

4     detention of Mr. Rhodes.      It's our belief that if she rules

5     in our favor, Ms. Rakoczy is going to appeal.             If she rules

6     in our favor, we're going to appeal.          So we need to discuss

7     a detention hearing setting with you, but that may be

8     something we do later today -- or I don't know if you want

9     to take that up at this time or not.

10                THE COURT:    Why don't you-all find out what

11    happens and then contact chambers for a date.             I'm going to

12    want a filing from both sides.         And I'm going to want a copy

13    of whatever transcript -- you know, the transcript of the

14    proceedings before the magistrate.          So you'll have to build

15    that into your schedule.

16                MR. LINDER:    Ms. Rakoczy and I have both already

17    ordered the transcript today.         So I don't know when it will

18    be done, but it should be shortly.          But we will take that up

19    with your office.       Thank you.

20                THE COURT:    Okay.

21                What I would suggest is that once you find out

22    what happens, to propose a schedule and then just submit

23    that to me and we'll find a time to get you-all in, okay?

24                MR. LINDER:    Thank you, sir.

25                THE COURT:    All right.
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1                 Mr. Moseley on behalf of Mr. Meggs?

2                 Mr. Moseley, can I ask you:        Is there a time you

3     need to be back in trial?

4                 Mr. Moseley?

5                 COURTROOM DEPUTY:     And, Your Honor, I think I have

6     to unmute him.     Sorry.

7                 THE COURT:    Mr. Moseley.

8                 COURTROOM DEPUTY:     However, I don't see him on the

9     call anymore.

10                THE COURT:    Okay.   We'll just move forward.

11                Mr. Geyer on behalf of Mr. Harrelson.

12                MR. GEYER:    Yes, Your Honor.

13                We have, as an outstanding matter, a detention

14    hearing that was vacated.      There was an evidentiary

15    disclosure that had a lot of additional information.

16    I'm not sure if it's, from my perspective at least, an

17    accurate representation that we've had all the discovery.

18    This is information that the government should have had for

19    a long time and it was released two weeks ago; it has a

20    wealth of information that impacts the case.            I'm not even

21    sure why it remains under seal, because it was the subject

22    of -- there's a couple of different pieces of information

23    that were video shot by news organizations, they were given

24    access to the Capitol, and it's high-definition video of

25    individuals who seem to be working together and engaged in
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1     various things that certainly impact this whole matter.                    And

2     I'm trying to get a handle on exactly what it all means and

3     then discuss it with the government to try to come up with

4     some mutually -- mutual accommodation for getting some

5     additional discovery.

6                 THE COURT:    Okay.

7                 MR. GEYER:    So at some point in the next, perhaps,

8     week, week and a half, we could have, I'd like to, perhaps,

9     contact the Court, with consent from the government, to

10    schedule another detention hearing.

11                THE COURT:    Okay.   That's fine.          Just reach out.

12    And I mean, I know that motion's pending and I wanted to

13    raise it with you.      But just once you feel -- just reach out

14    and we'll get that scheduled, okay?

15                MR. GEYER:    Okay.   Thank you, Your Honor.

16                THE COURT:    All right.

17                Mr. Crisp, on behalf of Ms. Watkins?

18                MR. CRISP:    Sorry about that, Your Honor.            I had

19    it muted.

20                Not at this time.     So there's nothing I need to

21    bring to the Court's attention that's -- I believe

22    Ms. Watkins has had access to the discovery through

23    Ms. Peterson.    So my understanding is she's done a very good

24    job in gaining access in that capacity.           So thank you.

25                THE COURT:    All right.
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1                 With respect to Mr. James and Ms. Robin?

2                 MS. ROBIN:    I have no issues, Your Honor, at this

3     time.

4                 THE COURT:    All right.

5                 Mr. Guillaume on behalf of Mr. Minuta.

6                 MR. GUILLAUME:    Your Honor, we have nothing to

7     raise at this time.      Thank you very much.

8                 THE COURT:    Ms. Halim on behalf of Mr. Hackett.

9                 MS. HALIM:    Nothing at this time, Your Honor.

10    Thank you.

11                THE COURT:    Mr. Weinberg on behalf of

12    Mr. Moerschel.

13                MR. WEINBERG:    Nothing at this time, Your Honor.

14                THE COURT:    Mr. Balbo on behalf of Mr. Ulrich.

15                MR. BALBO:    No, Your Honor.

16                But for my own edification just to make sure

17    I understand the Court's intent with this case, just to

18    recap, the two proposed trial dates for the Rhodes case for

19    July 11th and September 26th, plus four weeks, at this

20    point, we just don't know who would go in which group or if

21    there would be a spillover group.

22                And then our next Pretrial Conference is March the

23    4th at 1:00; is that correct, Your Honor?

24                THE COURT:    I think that is a fair summation of

25    where we are, yes, correct.
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1                 MR. BALBO:    Thank you, Your Honor.        Nothing

2     further.

3                 THE COURT:    Mr. Fischer on behalf of Mr. Caldwell.

4                 MR. FISCHER:    Yes, Your Honor.

5                 I'd ask the Court that -- there are three new

6     counts that are in the current indictment that, I think,

7     counsel need to certainly research and potentially file

8     motions to dismiss or other motions that are related to this

9     information.

10                So I guess my questions are, number one, is the

11    Court going -- will the Court set a new motions date; and

12    I guess related, number two, does the Court consider the

13    Rhodes indictment to be a brand-new case that essentially

14    began on January 12th of this year, or does the Court

15    consider it as sort of an offshoot of the other indictment?

16    I know I did read the Court had issued, I believe, a Minute

17    Order regarding, I believe, that the Court's rulings on the

18    previous matter certainly apply in this case, but I think

19    all the attorneys would like some clarification on that

20    point.   Thank you, Your Honor.

21                THE COURT:    Sure.

22                I mean, if what you mean is -- look, it's a new

23    case in the sense that it has a new number, new indictment,

24    and new counts and some new defendants.          But insofar as

25    everything that has transpired with respect to the
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1     defendants who are moved over from 21-CR-28, all of those

2     proceedings, as far as I'm concerned, have essentially been

3     imported into the new docket and should be treated that way

4     for appellate purposes.

5                 So to the extent any motions were made on that

6     original docket as it relates to those nine defendants,

7     you know, all of those issues, as far as I'm concerned, are

8     preserved, and that would include the rulings on the motions

9     to dismiss, the motions for change of venue and the like

10    that we dealt with last year and I recently -- you know, I

11    issued orders and memos on that late last year and responded

12    to your motion for reconsideration yesterday, Mr. Fischer.

13                Does that answer your question?

14                MR. FISCHER:    That answers the second question,

15    Your Honor.

16                But would the Court set another motions date,

17    because there are additional -- the additional charges that

18    may have to be addressed.

19                THE COURT:    Right.

20                Yeah, I think that's a fair request.          And so if

21    there are additional Rule 12 motions that anybody wishes to

22    file in the Rhodes matter, I'll ask you to do so by

23    February 25th, with government responses due by March the

24    18th, and replies due by April the 1st.

25                MR. FISCHER:    Thank you, Your Honor.
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1                 THE COURT:     And I understand that some of the new

2     counts could draw some motions, so thank you for raising

3     that, Mr. Fischer.

4                 MR. FISCHER:     Thank you, Your Honor.

5                 THE COURT:     So Mr. Vallejo is not present, so

6     we will move then to 21-CR -- the defendants who are

7     remaining in 21-CR-28.

8                 Ms. Hernandez on behalf of Mr. Crowl.

9                 MS. HERNANDEZ:     Your Honor, I'd ask the Court to

10    set a motions deadline in this case.         There are two new

11    counts.   So I would ask that.

12                Number two, I'd ask the Court to place a deadline

13    for the production of case-in-chief discovery from the

14    government.    If the April date is set, then that means we're

15    three months out.       There should be -- I've been asking for a

16    deadline for months, but there's simply -- I would just ask

17    the Court to set a deadline which --

18                THE COURT:     The pretrial will reflect a Rule 12

19    deadline for Rule 12 motions and motions in limine, so

20    that'll be covered by the pretrial.

21                And insofar as a deadline for evidence to produce

22    in case-in-chief, I'm not going to do that, I'll take it up

23    on of a case-by-case basis.       If there is production of

24    evidence that is late in the day that the defense objects to

25    because of the timing, I can take that up on a case-by-case
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1     basis, okay?

2                 MS. HERNANDEZ:    Well, I will tell the Court that

3     I've requested certain -- what I believe to be case-specific

4     discovery that the government has told me they will produce

5     at a later time.

6                 I would ask the Court to direct the government to

7     set out what more discovery they know is coming that is case

8     specific, because it's my understanding that -- I understood

9     Ms. Rakoczy to say earlier when she was describing -- and I

10    may have misheard -- when she was describing the discovery

11    to come, that there was still substantial discovery.

12                And also, I don't know if the Court is willing to

13    discuss a deadline for Jencks at this point and how much is

14    coming.   You know, if the Jencks that's coming is minimal

15    because they've produced a lot already, that's one thing.

16    But if we're going to get loaded down with a lot -- I'm

17    going to be in another trial.

18                And then I just want the Court to understand with

19    respect to discovery, I know all these -- I know all these

20    databases and all that are coming up.

21                But, for example, the global discovery that was

22    produced just last week, and the government acknowledged

23    this, my paralegal spent hours downloading; and then once it

24    was downloaded, she could not open it because of the manner

25    in which it was distributed.
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1                 And the government is aware of this and is trying

2     to make corrections.      But I just want the Court to

3     understand the volume of discovery that is coming at us and

4     the manner in which it's coming at us.            It's pretty

5     overwhelming.

6                 But I would ask the Court, in particular with

7     respect to directing the government to make -- to list for

8     counsel and for the Court what is still outstanding that

9     they know of, I'm not talking about stuff that may come up.

10                THE COURT:    Look, I will -- I think Ms. Rakoczy

11    has summarized that, and I'm sure she will -- if there are

12    specific questions about what discovery remains, I'm sure

13    she'd be happy to answer those, okay?

14                And as far as Jencks goes, my standard Pretrial

15    Order will have a deadline for Jencks material.

16                MS. HERNANDEZ:    And, I'm sorry, Your Honor.

17                This is case-specific as to the trial, and maybe

18    we can wait for another date, but my client is from out of

19    town, I don't know how the Court plans to -- the court

20    schedule, maybe we'll discuss this at a Pretrial Conference,

21    but I don't know what the Court's hours and dates and that

22    type of thing for the trial.          I don't know if the Court has

23    thought of that.

24                THE COURT:    I haven't yet, but that's something,

25    I think, we can deal with at a later date.
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1                 I mean, I typically go Monday through Friday, 9:00

2     to 5:00, but it's a longer case, I may, maybe take an

3     afternoon off or something.       But you can expect full trial

4     days.

5                 MS. HERNANDEZ:    Thank you, Your Honor.

6                 THE COURT:    All right.     Mr. Machado on behalf of

7     Ms. Parker.

8                 MR. MACHADO:    Your Honor, while, apparently,

9     I have been entitled the polite attorney in this thing,

10    I think I'm going to just want to touch on one thing.               And

11    I'm assuming that there will be no further superseding

12    indictments for this April trial, and, if so, if there is

13    one, that the Court will reconsider as far as forcing us to

14    go to trial in April, and so I'm not going to be saying

15    anything further.

16                THE COURT:    If circumstances change, then we'll

17    address the changed circumstances if and when they occur.

18                MR. MACHADO:    All right.      Thank you, Your Honor.

19                THE COURT:    Mr. Brennwald on behalf Mr. Parker.

20                MR. BRENNWALD:    Your Honor, number one, I adopt

21    Ms. Hernandez's comments and requests and statements.

22                Number two, and I hope the Court will indulge me

23    in this, Your Honor, because it's not exactly related to

24    this -- it's related to this case, but it's not about this

25    case.
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1                 As the Court knows, the District of Columbia has

2     filed suit civilly against a lot of the defendants in these

3     cases.   My client's, Bennie Parker, and Mr. Machado's

4     client's, Sandra Parker's, answers civilly are due tomorrow.

5                 I know that the Court has granted extensions in a

6     couple other cases for other defendants.           I just want to

7     highlight the fact that all of us, I think, have been

8     discussing what to do, how to respond.          These people, some

9     of them are court-appointed, don't have funds to hire

10    anybody, and we're going to be requesting the Court to grant

11    them more time.

12                I didn't see anything in the Federal Rules that

13    allows special appearances or limited appearances for

14    lawyers to do certain things like this.          But all of our

15    clients, including my client, Bennie Parker, is very worried

16    about having a default judgment or some other thing.

17                And I know it's just more stress for him on top of

18    the criminal case, but we're going to be requesting, if the

19    Court will allow it, extra time, and I think all people are

20    in the same boat.       It would be nice if the Court could

21    somehow, with the District of Columbia's approval, just kind

22    of not sua sponte --

23                THE COURT:     I guess, Mr. Brennwald, I'll take a

24    look at that docket.       I know there have been requests for

25    extensions.    I'll just a look at it.
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1                 MR. BRENNWALD:    Yeah, something I wanted to

2     highlight.

3                 THE COURT:    All right.

4                 Mr. Cooper on behalf of Ms. Steele.

5                 MR. COOPER:    Your Honor, one of the down sides of

6     not going first is you find yourself in the position where

7     everybody else has said things on your mind already.

8                 I agree with Ms. Hernandez and Mr. Machado,

9     especially Mr. Brennwald, with respect to the civil matter.

10    I guess really don't have anything to add other than just to

11    rack on those sentiments.

12                THE COURT:    Okay.

13                Mr. Haller and Ms. -- excuse me, Ms. Haller and

14    Mr. Woodward on behalf of Connie Meggs.

15                MS. HALLER:    Thank you, Your Honor.

16                I guess I just am not clear on Your Honor's

17    Pretrial Order.

18                So that will include the deadline for motions,

19    including any substantive motions such as on the new counts?

20    I don't know if we have a separate deadline for motions to

21    dismiss, for example, on the new counts, and then --

22                THE COURT:    So, Ms. Haller, my pretrial motion --

23    pretrial schedule will include a date for Rule 12 motions,

24    it will include dates for motions in limine, it will include

25    dates for disclosures by government of Brady material and
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1     Jencks material.        So all of that was covered by the Pretrial

2     Order.

3                 MS. HALLER:      Thank you, Your Honor.

4                 And then that includes the witness lists and the

5     exhibit lists, I assume?

6                 THE COURT:      Yes.

7                 MS. HALLER:      Okay.

8                 And as far as travel, because there -- obviously

9     my client lives in Florida and is restricted to Florida and

10    will need to come up here for trial and in anticipation of

11    trial, I assume we just do a regular motion to modify or

12    is there a --

13                THE COURT:      Yeah, we can take that up.        I mean,

14    I think -- I suspect current release orders allow for travel

15    for court obligations, but if they don't, we'll make sure a

16    modification gets filed.

17                Okay.   Mr. Rossi, on behalf of Mr. Isaacs.

18                MR. ROSSI:      Yes, Your Honor.

19                We would adopt the requests and arguments made by

20    Ms. Hernandez; we think they're very important.             Other than

21    that, we have no further comment.

22                THE COURT:      Mr. Uller on behalf of Mr. Beeks.

23                MR. ULLER:      Thank you, Judge.

24                If I could just get some indication from the

25    government with respect to two discovery matters; one is,
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1     when we can expect the discovery of Mr. Beeks' devices and

2     case-specific discovery as to Mr. Beeks; and, secondly, just

3     some clarification on whether the Relativity database is

4     going to include case-specific discovery or if it's just

5     global discovery?

6                 MS. RAKOCZY:    Your Honor, with respect to

7     Mr. Beeks' electronic devices, they are being processed and

8     analyzed by the FBI at this time.        I don't have a deadline,

9     we've impressed upon them the need to move as quickly as

10    humanly possible, given that Mr. Beeks joined this case most

11    recently and needs access to those materials to the extent

12    that we are identifying discoverable materials within them.

13                With respect to case-specific discovery, we have

14    provided aspects of reports and grand jury subpoena returns

15    from the case-specific to Mr. Beeks.         There are limited

16    additional materials, but we will make those available, I

17    would imagine, within the next couple weeks, if not sooner.

18                And I apologize, I lost track of the third

19    request.

20                MR. ULLER:    It's just with the Relativity.

21    Is Relativity going to include case-specific materials or is

22    that for global only?

23                MS. RAKOCZY:    Thank you.

24                It will include some of the case-specific

25    materials, because they are uploading, for example, FBI
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1     reports from the Sentinel FBI database.          But it will not

2     include a copy of everything that has been provided in this

3     case, which is why we've made the materials available

4     through external hard drives to new counsel as they've

5     joined.

6                 THE COURT:    Okay.

7                 All right.    Then finally, Mr. MacMahon on behalf

8     of Mr. Walden.

9                 MR. MacMAHON:    Nothing else, Your Honor.

10    Thank you very much.

11                THE COURT:    Okay.

12                All right.    Just a couple housekeeping matters and

13    I think most of counsel can then be excused.

14                I'd ask everybody to now begin filing any

15    additional pleadings in your respective case dockets.

16    So specifically if you are now representing a defendant in

17    the Rhodes matter, please begin filing your pleadings in the

18    Rhodes matter.     Obviously if you remain in what's now the

19    Crowl matter, you can continue to use the docket, and then,

20    Mr. MacMahon, you've got your own docket.              That's one.

21                I think I need to -- and Pretrial has asked me to

22    issue -- release orders in the Rhodes case.             So I will get

23    that done.    All defendants who were released in what was

24    then the Caldwell matter, 21-CR-28, will remain on pretrial

25    release in the Rhodes matter under the same conditions that
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1     they were in previously.

2                 All right.    Those are the only house -- those are

3     the housekeeping matters I had left.

4                 I would like Ms. Haller to remain, as well as

5     Mr. Moseley, if you're still on.        If you're not, that's

6     okay.

7                 MR. MOSELEY:    I was able to get back on.          I did

8     have technological trouble.       I wanted to make a couple quick

9     notes if I'm able.

10                THE COURT:    Does it relate to everyone or just

11    your client?

12                MR. MOSELEY:    Well, it might.      I mean, one

13    thing -- well, to the detained defendants.             I wanted to

14    point out that, during the quarantine, they wouldn't let me

15    drop off documents, I need help with that.

16                MS. HERNANDEZ:    You can mail them.

17                MR. MOSELEY:    Okay.

18                And he would prefer the April 19th date to

19    continue.    I understand that might not work for everybody,

20    but I want to communicate that.

21                And, of course, the discovery problems are the

22    reason for hesitations about going through with April 19th.

23    And I am sympathetic to technology not living up to our

24    hopes and expectations, but, you know, we're still getting

25    tons of data, where passwords and compression software and
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1     everything like that makes this in my hands but unusable and

2     a tremendous technological obstacle that I'm not skilled

3     with just to be able to read it.

4                 So it's -- you know, we're all sucked into the

5     technology promise, but it's sort of been an avoidable

6     delay.   So Kelly Meggs's desire would be to not be delayed,

7     but we'll see what you are able to do about that with the

8     dates.

9                 THE COURT:    All right.

10                As I said, given the modifications and the

11    additions of new claims and new counts, or new charges and

12    new defendants, I do think the continuance of the trial date

13    to July 11th for the detained defendants is appropriate.

14                All right.    Last thing --

15                MS. HERNANDEZ:    I'm sorry -- may I have -- on what

16    the Court just said about separating the cases, it's my

17    understanding that the government is going to be

18    producing -- continuing to produce the same discovery in

19    both cases.    That's what Ms. Rakoczy told me.

20                Also, to the extent that it's the same conspiracy,

21    I have a question about whether any rulings in one case

22    would apply either directly or indirectly to our case.

23                THE COURT:    No, no, no.

24                Well, let's put it this way:         If what you mean by

25    that is, you know, what I have said when everybody was on
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1     one docket, that if you mean to join another person's

2     motion, you can do that.

3                 But with the cases now separated, you should

4     assume they are separate cases.          Do not assume that because

5     a lawyer has made a motion in another docketed case, that

6     it's going to apply to your defendant if you're in a

7     different docketed case.

8                 MS. HERNANDEZ:    Right.      So my --

9                 THE COURT:    Hang on.

10                And insofar as rulings that might affect both

11    cases, I'll just have to wait and see.            I mean, I just --

12    I can't predict what those motions will be and what impact

13    it might have on those cases.

14                MS. HERNANDEZ:    That was the question I had more,

15    you know, rulings may have the same issues in them but maybe

16    entered in the -- or raised in the Rhodes case.              And, of

17    course, if the Court rules one way in the Rhodes case, it's

18    likely to rule the same way.          So I was just wondering how

19    that would work, whether there's any way for us to continue

20    to sort of get notification of what's happening in the other

21    case.

22                THE COURT:    Well, I think -- well, you know,

23    I think you can continue -- you can ask Mr. Douyon, it seems

24    to me, to continue to receive ECF notices in the Rhodes

25    case, if you'd like, and that way you'll be on notice as to
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1     what is being filed and what's being considered in that

2     case.   You'll obviously also have access to the docket.

3                 All right.    So with that, I'd like Mr. Moseley and

4     Ms. Haller and Mr. Woodward just to remain on; everybody

5     else is -- oh, one last thing.

6                 Our next date is March the 4th.            Is there any

7     objection to exclusion of time under the Speedy Trial Act

8     through March the 4th for any defendant in any case?

9                 MR. MOSELEY:    Yes, Kelly Meggs would object.

10    Again, there have been problems, but they weren't

11    necessarily unavoidable in terms of the delay.

12                THE COURT:    Okay.

13                So I will exclude time through March the 4th.

14                MS. HERNANDEZ:    Your Honor, to the extent that any

15    delays are caused by the government's seventh superseding

16    indictment, Mr. Crowl would object.

17                THE COURT:    Okay.

18                So I will exclude time under the Speedy Trial Act

19    through the next court date in the Rhodes matter through

20    March the 4th.     I do believe that it is in the interests --

21    the ends of justice do outweigh the interests of the

22    defendant and the publics in a public and speedy trial

23    during that time period.      Specifically, that is a new case

24    with a new indictment involving two new defendants and new

25    counts against all defendants, and defense counsel and the
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1     defendants will need time to address those new counts and

2     adjust to the fact that there are two new defendants in the

3     case.

4                 Additionally, as Ms. Rakoczy has indicated,

5     discovery is still ongoing and defense counsel will need

6     time to receive that discovery, review it, and be prepared

7     for trial, having taken that discovery into account.              And in

8     particular for Ms. Watkins, the exclusion of time is

9     warranted because she has retained new counsel and Mr. Crisp

10    will need more time than the others to get prepared for

11    trial.

12                I'll also exclude time in the Caldwell matter --

13    excuse me, in the Crowl matter and in the Walden matter for

14    the reasons that I've stated, in part, with respect to the

15    Rhodes matter and specifically discovery continues to be

16    rolled out by the government, although it is seemingly

17    coming to a close.      Defense counsel will obviously need to

18    review that -- receive and review that discovery and prepare

19    adequately for trial.      Those defendants are set for trial on

20    April the 19th.     I'm excluding that time, as I said, to

21    enable defense counsel to prepare for trial and receive

22    additional discovery and consider that discovery for trial

23    warrants the exclusion of time under the Speedy Trial Act.

24                Okay.   So with that, everybody other than

25    Mr. Haller, Mr. Woodward, and Mr. Geyer -- excuse me,
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1     Mr. -- I'm losing my mind here, counsel for Mr. Meggs are

2     excused.

3                 MS. RAKOCZY:    Your Honor, could we also ask

4     counsel for Mr. Rhodes to remain on for that issue?

5                 MS. HALIM:    And our clients, Your Honor.

6                 THE COURT:    Yes, and the clients should remain as

7     well.

8                 Thank you, everyone, I appreciate your patience,

9     and we'll see you all in about a month.

10                Okay.

11                Is everybody --

12                CORPORAL:    Your Honor?

13                THE COURT:    Yes.

14                CORPORAL:    I have two other defendants in the room

15    with me.    Should they leave or can they stay?

16                THE COURT:    This is a public matter; they can

17    certainly stay.

18                CORPORAL:    Okay.

19                THE COURT:    So, Mr. Moseley, first thing with

20    respect to you.

21                You had indicated to me, when we had a hearing

22    recently, that new counsel would be entering an appearance

23    as co-counsel.      Is that still happening for Mr. Moseley --

24    for Mr. Meggs?

25                MR. MOSELEY:    No, I'm not sure I remember that.
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1     I do not have a co-counsel -- I'm not sure I understand.

2                 I mean, I'm going to be looking for a second

3     chair, but I don't have someone planned right now.

4                 THE COURT:    Well, that's what I meant; that you

5     would be -- that a co-counsel would be entering an

6     appearance with you on Mr. Moseley -- on Mr. Meggs's behalf.

7     Is that still --

8                 MR. MOSELEY:    Well, what I meant was for -- to

9     assist in the trial.      I do not have someone identified at

10    this time.

11                THE COURT:    Okay.

12                Well, as I said, one of the reasons, as we

13    discussed with you, and it was, I think, a sealed

14    proceeding, but the bottom line is, you had indicated that

15    there was going to be a new lawyer joining you, and I'd like

16    to make sure that happens in short order, okay?

17                MR. MOSELEY:    Again, I was planning to get

18    assistance at trial.      I don't know what will happen with

19    that.

20                THE COURT:    Well, you know, why don't you hang on,

21    Mr. Moseley, and we can address that matter under seal in a

22    moment.

23                Let's turn then to Mr. Linder and any issues that

24    need to be raised concerning Mr. Rhodes.

25                MR. LINDER:    Ours would just be in regards to the
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1     impending new detention hearing that I assume we'll have to

2     have with you, Your Honor.

3                 THE COURT:      Yeah.

4                 And as I said previously, just contact chambers

5     with a schedule.        What I would suggest is you all just need

6     to file something or contact my Courtroom Deputy and we can

7     set a date.

8                 MR. LINDER:      Ms. Rakoczy had mentioned in an email

9     to me that you typically prefer to do those by Zoom, and so

10    I had some questions about that.         I understand it would be

11    easier for my client to appear by Zoom because he's in the

12    jail and you wouldn't have to transfer him.             I have no

13    problem coming to D.C. and having our witnesses appear by

14    Zoom, I just don't know which you prefer.

15                THE COURT:      Well, we're currently being asked,

16    under the present circumstances, to limit in-court

17    proceedings to those that are truly essential for in-court.

18    And given that your client -- I mean, unless you're telling

19    me you want to delay the transfer of your client up here and

20    that he is asking for an in-person hearing, is that what

21    you're asking, Mr. Linder?

22                MR. LINDER:      I need to visit with him about that.

23    But I think -- and, Stewart, I'll come visit with you, so,

24    please, don't take this as a hard and fast -- I think my

25    client would rather have the detention hearing as soon as
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1     possible.    And some of his witnesses are out of state, so

2     having them appear by Zoom makes a lot of sense.              But I am

3     willing to come to D.C. if the lawyers needed to be present,

4     if it was more conducive.

5                 THE COURT:    No.   If your client is prepared to

6     waive an in-person detention hearing, and, again, I don't

7     know whether the government is going to call any witnesses,

8     if he's prepared to permit -- prepared to allow counsel to

9     confront any government witnesses remotely, we can all get

10    in here much sooner and do that, because I can't predict how

11    long it would take to get Mr. Rhodes to D.C.

12                MR. LINDER:    I will visit with Mr. Rhodes

13    personally in the next 24 to 48 hours and find out as we're

14    waiting for the transcript and things to happen.

15                THE COURT:    Okay.

16                MR. LINDER:    Thank you, sir.

17                THE COURT:    All right.     Thank you.

18                All right.    So I wanted to --

19                MR. NESTLER:    Your Honor?

20                THE COURT:    Yeah.

21                MR. NESTLER:    The reason the government asked

22    Mr. Linder and Mr. Rhodes to stay on is because of any

23    potential conflict issues regarding Mr. Moseley.

24                I see that Mr. Wise is here, so that's why we had

25    asked Mr. Linder to hang back for a little bit.
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1                 MR. LINDER:    Oh, okay.     Great.

2                 THE COURT:    Mr. Nestler, by that you mean the fact

3     that Mr. Moseley has said, at least, I think, publicly, that

4     he represented Mr. Rhodes.

5                 And I take it he doesn't intend to represent him

6     in this case since Mr. Linder has entered his appearance,

7     but is there a concern that his past representation of

8     Mr. Rhodes somehow creates a conflict for either Mr. Meggs

9     or Mr. Rhodes?

10                MR. NESTLER:    The government's understanding --

11    yes.

12                But the government's understanding more acutely,

13    Your Honor, is that Mr. Moseley currently and in the future

14    intends to represent Mr. Rhodes before the January 6th

15    Committee that the House is proceeding with, and that that

16    may pose a potential conflict we wanted to flag for

17    Your Honor's attention, especially with Mr. Wise here on the

18    line.

19                THE COURT:    Mr. Moseley, is that -- well, let me

20    ask Mr. Linder.

21                Mr. Linder, are you now representing Mr. Rhodes

22    for all purposes, including any civil matters and any

23    congressional matters?

24                MR. LINDER:    I don't think so.

25                We've only been employed at this point to
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1      represent him in the criminal matter.         And I will also clear

2      that up with him when I visit with him about the upcoming

3      detention hearing.

4                  THE COURT:    Okay.

5                  MR. LINDER:   I don't think we'll be -- being that

6      I'm not in D.C. and deuced up before Congress, I don't think

7      I would be employed to do that, but I will ask him what he

8      intends to do.

9                  THE COURT:    Okay.

10                 Well, why don't we get some clarification on that

11     front.

12                 I mean, I have real concerns, too, about

13     Mr. Moseley's representing Mr. Rhodes in any capacity in

14     this case or adjacent to this case.

15                 MR. LINDER:   One of the concerns, Your Honor,

16     would be -- and I need to speak with Mr. Moseley about this

17     and my client -- is the conflict he may have having

18     represented my client and then now representing another

19     co-defendant.    And that's an issue I have.          I don't know

20     what information he's learned from my client that he might

21     use for Meggs's benefit that might be detrimental to my

22     client.    So that's a discussion Mr. Moseley and I have not

23     had yet.

24                 THE COURT:    Okay.

25                 Well, I'm going leave it to you-all to sort that
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1      out.

2                 Mr. Moseley, let me -- I guess what I'd like to

3      have you do, Mr. Linder, is have conversations with your

4      client, with Mr. Moseley, and I'll ask you and Mr. Moseley

5      to submit something to me by the end of the week indicating

6      what the intentions are with respect to representation of

7      Mr. Rhodes, both in this case and then any other case in the

8      proceedings, including any civil cases, as well as any civil

9      matters.

10                MR. MOSELEY:     All right.

11                And I apologize.     You know, I'm actually supposed

12     to resume trial here in Alexandria, but I think that would

13     be good and I'd be happy to do that.          That might be -- I

14     could comment now, but that would be the best -- actually,

15     we've talked and that's better than dealing with it now.

16                THE COURT:    Right.      I think that makes the most

17     sense.

18                So let's get some clarification on Mr. Rhodes's

19     representation in the various facets of this --

20                MR. LINDER:    Can that submission to you,

21     Your Honor --

22                THE COURT:    And we'll go from there.

23                I'm sorry?

24                MR. LINDER:    Can that submission to you be by

25     simple email or do we need some kind of form?
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1                 THE COURT:    Why don't you just put something on

2      the docket.

3                 MR. LINDER:    Okay.

4                 THE COURT:    You can file a notice on the docket

5      that indicates what the status is and then I'll take it from

6      there.

7                 MR. LINDER:    Perfect.     Thank you.

8                 THE COURT:    All right.     Thank you.

9                 All right.    So unless there's anything further --

10     Mr. Moseley, I guess the one other thing is, you've got a

11     pending motion for subpoenas.        I guess, you know, I'll take

12     a look at that and deal with that in short order, but now

13     that you've got a July trial date, that's something I'll

14     just have to deal with.

15                MR. MOSELEY:     Your Honor, I believe that's --

16     I was planning to just file something in response on that,

17     and I just haven't done it yet.

18                THE COURT:    Okay.

19                MR. MOSELEY:     So you explaining the rules and how

20     it's affected.     I think Touhy applies when a subpoena is

21     served, not when it's being asked for it to be signed by the

22     Clerk.   So those sorts of things, I'm going to get to laying

23     that all out, so you might benefit from that.

24                THE COURT:    So I'll wait for your reply then.

25                Okay.   So unless there's anything else on behalf
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1      of Mr. Meggs or Mr. Rhodes, counsel for those defendants are

2      free to leave.    Thank you, all.

3                 That leaves Ms. Haller on behalf of Ms. Meggs and

4      Mr. Woodward.

5                 The reason I've asked you all to hang back is

6      because, just to rewind the clock here, the issue had been

7      raised by the government about Ms. Haller's representation

8      of Ms. Meggs in this matter, in this criminal case, as well

9      as her parallel representation of Mr. Meggs in a civil

10     matter.

11                When that was raised, I asked counsel from Miller

12     & Chevalier, Mr. Wise is here from Miller & Chevalier, to

13     serve as conflicts counsel, and he very kindly agreed to do

14     that.

15                I know Mr. Wise has conferred with Ms. Haller,

16     perhaps directly as well with Ms. Meggs, conferred with the

17     government, and is prepared to put his representation on the

18     record of his efforts and the outcome of that so that the

19     record is clear in terms of any conflicts and how all that's

20     been handled.

21                Mr. Wise.

22                MR. WISE:    Thank you, Judge.

23                I am here.    I'm also here with my colleague,

24     Mary Lou Sauler, who's a fellow member at Miller &

25     Chevalier.
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1                 THE COURT:    Oh, I should have mentioned Ms. Sauler

2      as well.   But I don't see her on the screen, so maybe she's

3      on telephonically.

4                 MS. SAULER:    I am.

5                 MR. WISE:    She may just be on telephonically.

6                 THE COURT:    Okay.    That's why I didn't --

7      Ms. Sauler, I didn't mean to exclude you, I just didn't see

8      you.

9                 MS. SAULER:    Not at all, Your Honor.

10                THE COURT:    Okay.

11                In any event.

12                MR. WISE:    Very well.

13                So, Judge, after a review of the situation and

14     discussions with Ms. Haller, Ms. Meggs, and Mr. Meggs, it is

15     our view that there is not a present conflict and that

16     Ms. Meggs and Mr. Meggs understand the potential conflicts

17     which could arise and knowingly waive any such potential

18     conflicts.

19                In terms of process, we started by reaching out to

20     Ms. Haller, she has been fully cooperative throughout this

21     process, including talking with us and facilitating our

22     contact with both of her clients.

23                We made clear to Ms. Haller and to both Ms. Meggs

24     and Mr. Meggs that the Court had not formed any opinion of

25     whether there was a conflict and also that we did not come
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1      to our assignment with any opinion about whether a conflict

2      existed.

3                 We understand that Ms. Haller explained to both of

4      her clients that we'd been appointed by the Court to analyze

5      whether there was or might be a conflict because of the fact

6      that she represented Ms. Meggs in the criminal case and

7      Mr. Meggs in a related civil case, and, if so, whether any

8      present or potential conflict could be waived by Mr. and

9      Mrs. Meggs.

10                Ms. Haller informed us that she had discussed the

11     potential-conflicts issue with both of her clients and

12     obtained a waiver and consent to continue her representation

13     from each.

14                We determined that it would be advisable to speak

15     with Ms. Meggs and Mr. Meggs directly to make sure they

16     understood the possible conflicts under the D.C. Rules of

17     Professional Conduct and to determine whether they wish to

18     waive any conflicts that might arise or -- might exist,

19     excuse me, or possibly later arise.

20                So we had discussions with Mr. Meggs and Ms. Meggs

21     on the telephone individually, each with Ms. Haller on the

22     line.   Separately both Mr. Meggs and Ms. Meggs indicated

23     that they understood the points that we raised, they did not

24     believe that they or their interests were adverse or that

25     there were any actual conflicts.        They also indicated that
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1      they would waive any conflicts that could arise and they

2      each wanted Ms. Haller to continue to represent them.

3                 We have asked both of them to confirm this in

4      writing.   We've received Ms. Meggs's back, we're waiting on

5      Mr. Meggs's, which is obviously more difficult given his

6      current status.    But we are satisfied that when they do so,

7      that the potential-conflicts issues will have been

8      addressed, and we're happy to answer any questions.

9                 THE COURT:    Okay.   Thank you, Mr. Wise;

10     I appreciate the summary.

11                I think -- I am not inclined, unless either side

12     wishes that I do so, to directly address Ms. Meggs or

13     Mr. Meggs about those issues.        I understand that there are

14     going to be written waivers signed, which, I think, will

15     acknowledge that they have been fully informed about

16     potential conflicts and waive those conflicts.

17                So unless anybody thinks that I need to address

18     them individually, that's how I would intend to leave it.

19                Does the government have a different view?

20                MR. NESTLER:     No, Your Honor, the government is

21     satisfied about the issue between Kelly Meggs and Connie

22     Meggs.

23                THE COURT:    Okay.

24                MR. NESTLER:     I do believe -- I'm sorry.

25                THE COURT:    No.   Go ahead, Mr. Nestler.
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1                 MR. NESTLER:     I do believe Mr. Wise was also

2      looking into one of the other conflicts questions Your Honor

3      had raised about Mr. Moseley's representation of another

4      civil defendant, Zachary Rehl, in the civil case, and

5      Mr. Meggs in this criminal case.        I just wanted to see if we

6      were closing a loop on that as well.

7                 THE COURT:    I did not -- I know that was raised,

8      but I did not ask Mr. Wise to explore -- and Mr. Sauler --

9      to explore that conflict.      I mean, it wasn't -- or potential

10     conflict of that issue.

11                I mean, I guess I'd have to try and get a better

12     understanding of why that might raise any issues, given that

13     that defendant, Mr. Rehl, is not a defendant in this case.

14     And the concern for Ms. Meggs was that she is a defendant in

15     this case, along with her husband, and that Ms. Haller was

16     also representing him in the civil matter.            But I didn't see

17     the same issues arising with respect to Mr. Rehl.

18                MR. NESTLER:     Yes, Judge.

19                We thought there was a potential for those issues,

20     especially in light of the information we've gotten recently

21     from Mr. Moseley and Mr. Geyer about a defense theory that

22     other groups were the true bad actors on January 6th and

23     that these defendants, Mr. Meggs and Mr. Harrelson, for

24     instance, were, therefore, less culpable or not culpable.

25                And so to the extent that Mr. Meggs is planning to
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1      point the finger at Proud Boys or Mr. Rehl or others,

2      Mr. Moseley's representation of Mr. Rehl in this related

3      civil case could, in the government's opinion, pose a

4      conflict.    We're not saying it does, we wanted to flag it,

5      which is why we had flagged it initially.

6                  THE COURT:    Okay.

7                  Well, let's put a pause on that for a moment,

8      because, as I said, I'd not asked Mr. Wise to explore that

9      issue and Ms. Sauler to explore that issue because I didn't,

10     perhaps, appreciate it at the time.         So let's just put a

11     pause on that for the moment.

12                 Ms. Haller, let me just turn to you and make sure

13     that you're satisfied with the outcome of all of this and if

14     there's anything else you'd like to add.

15                 MS. HALLER:    No.    Thank you, Your Honor.

16                 And thank you, Mr. Wise and Mary Lou, who I think

17     is still there, Ms. Sauler.

18                 It's been really nice actually working with them.

19     So I appreciate their time and effort.

20                 THE COURT:    Okay.    Terrific.

21                 All right.    So I think that takes care of that

22     matter.

23                 And I guess the last issue is then, what, if

24     anything, we need to do about this issue with Mr. Moseley's

25     representation and Mr. Rehl in the civil matter.
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1                 Mr. Moseley, are you still on?

2                 It looks like we lost him or at least he's

3      appearing on the screen but he's not responding.

4                 Does he need to be unmuted, JC?

5                 COURTROOM DEPUTY:     He does not need to be unmuted.

6                 THE COURT:    Okay.

7                 Well, let's figure out what we need to do.

8      I guess the question is, Mr. Wise and Mr. Sauler, are you

9      willing to take on one more of these, and, if so, I would be

10     very grateful.

11                MR. WISE:    Yeah, we're happy to do so.

12                THE COURT:    Okay.

13                So why don't we then double back on this once

14     Mr. Wise and Ms. Sauler have had enough time to get up to

15     speed on what the issue is and then consult with the

16     relevant counsel and parties and then we can take that up,

17     hopefully, by the next status hearing, okay?

18                MR. WISE:    Very well.

19                MR. NESTLER:     That works for the government,

20     Your Honor.    Thank you.

21                THE COURT:    All right.     Terrific.

22                Thank you, all, very much.        I appreciate

23     everybody's patience, and we'll see everybody in about a

24     month or so.

25                (Proceedings concluded at 1:17 p.m.)
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                         C E R T I F I C A T E
                   I, William P. Zaremba, RMR, CRR, certify that
  the foregoing is a correct transcript from the record of
  proceedings in the above-titled matter.
                   Please note: This hearing occurred during
  the COVID-19 pandemic and is therefore subject to the
  technological limitations of court reporting remotely.




  Date:__February 8, 2022_____ ____________________________
                                       William P. Zaremba, RMR, CRR
                                                                                                                           111

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